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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

RALPH S. JANVEY, IN HIS CAPACITY       §
AS COURT-APPOINTED RECEIVER            §
FOR THE STANFORD RECEIVERSHIP          §
ESTATE, AND THE OFFICIAL               §
STANFORD INVESTORS COMMITTEE           §
                                       §
      Plaintiffs,                      §
                                       §
                    VS.
                                       §
                                       §   CIVIL ACTION NO. ______________
ADAMS & REESE, LLP; BREAZEALE,
SACHSE & WILSON, LLP; ROBERT           §
SCHMIDT; JAMES AUSTIN; CLAUDE F.       §
REYNAUD, JR.; CORDELL HAYMON;          §
THOMAS FRAZER                          §
                                       §
      Defendants.

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                    PLAINTIFFS’ ORIGINAL COMPLAINT
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

RALPH S. JANVEY, IN HIS CAPACITY                 §
AS COURT-APPOINTED RECEIVER                      §
FOR THE STANFORD RECEIVERSHIP                    §
ESTATE, AND THE OFFICIAL                         §
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       Plaintiffs,                               §
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ADAMS & REESE, LLP; BREAZEALE,
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SCHMIDT; JAMES AUSTIN; CLAUDE F.                 §
REYNAUD, JR.; CORDELL HAYMON;                    §
THOMAS FRAZER                                    §
                                                 §
       Defendants.

_____________________________________________________________________________

                    PLAINTIFFS’ ORIGINAL COMPLAINT
_____________________________________________________________________________

       Ralph S. Janvey, in his capacity as the Court-Appointed Receiver for the Stanford

Receivership Estate, and the Official Stanford Investors Committee file this Original Complaint (the

“Complaint”) against Defendants ADAMS & REESE, LLP, BREAZEALE, SACHSE & WILSON,

LLP, ROBERT SCHMIDT, JAMES AUSTIN, CLAUDE F. REYNAUD, JR., CORDELL

HAYMON, and THOMAS FRAZER (collectively, the “Defendants”), and allege as follows:

                                          I.   PREFACE

       1.      This action is filed to recover damages for the Stanford Receivership Estate from the

Defendants based on their participation in the massive Ponzi scheme orchestrated by Allen Stanford

and his affiliated group of companies that comprised Stanford Financial Group.



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                                           II.   PARTIES

          2.   Plaintiff Ralph S. Janvey was appointed by the United States District Court for the

Northern District of Texas, Dallas Division, to serve as the Receiver for the assets, monies,

securities, properties, real and personal, tangible and intangible, of whatever kind and description,

wherever located, and the legally recognized privileges (with regard to the entities) of Stanford

International Bank, Ltd., Stanford Group Company, Stanford Capital Management, LLC, Robert

Allen Stanford, James M. Davis, Laura Pendergest-Holt, Stanford Financial Group, the Stanford

Financial Group Bldg., Inc., and all entities that the foregoing persons and entities own or control,

including but not limited to Stanford Financial Group Global Management, LLC and Stanford

Financial Group Company (collectively, the “Stanford Receivership Estate”). Plaintiff Janvey is

asserting claims in this Complaint in his capacity as the Receiver for the Stanford Receivership

Estate.

          3.   Plaintiff Official Stanford Investors Committee (the “Committee”) was formed by this

Court on August 10, 2010. See Case No. 3:09-CV-0298-N, Doc. 1149 (the “Committee Order”). As

stated in the terms of the Committee Order, the Committee is cooperating with the Receiver to

identify and prosecute actions and proceedings for the benefit of the Stanford Receivership Estate.

Plaintiff Committee is the assignee of certain claims that were assigned by the Receiver.

          4.   Defendant Adams and Reese, LLP (“A&R”) is a Louisiana limited liability

partnership doing business in the State of Texas. A&R is a law firm that provided legal services to

Stanford Financial Group, including Stanford Trust Company (Louisiana) and Stanford Group

Company. Under Federal Rules of Civil Procedure 4(e)(1) and 4(h)(1)(A), and Texas Rules of Civil

Procedure 106(a)(2) and 108, A&R may be served with process by mailing a true copy of the citation

with an attached copy of this Complaint, by registered or certified mail, return-receipt requested, to
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A&R’s Managing Partner, Charles P. Adams, Jr., at 300 Renaissance, 1018 Highland Colony

Parkway, Suite 800, Ridgeland, Mississippi, 39157.

       5.      Defendant Breazeale, Sachse & Wilson, LLP (“BSW”) is a Louisiana limited liability

partnership with its principal place of business in Baton Rouge, Louisiana. BSW is a law firm that

provided legal services to Stanford Financial Group, including Stanford Trust Company (Louisiana)

and Stanford Group Company. Under Federal Rules of Civil Procedure 4(e)(1) and 4(h)(1)(A), and

Texas Rules of Civil Procedure 106(a)(2) and 108, BSW may be served with process by mailing a

true copy of the citation with an attached copy of this Complaint, by registered or certified mail,

return-receipt requested, to BSW’s Managing Partner, Scott N. Hensgens, at One American Place,

Suite 2300, P.O. Box 3197, 301 Main Street, Baton Rouge, Louisiana 70821.

       6.      Defendant Robert Schmidt (“Schmidt”) is an individual lawyer and citizen of the

United States of America currently residing in the Parish of East Baton Rouge, Louisiana. He is

employed by A&R. Schmidt provided legal services to Stanford Financial Group, including Stanford

Trust Company (Louisiana) and Stanford Group Company. Under Federal Rule of Civil Procedure

4(e)(1) and Texas Rules of Civil Procedure 106(a)(2) and 108, Austin may be served with process by

mailing a true copy of the citation with an attached copy of this Complaint, by registered or certified

mail, return-receipt requested, to Schmidt’s usual place of business.

       7.      Defendant James Austin (“Austin”) is an individual lawyer and citizen of the United

States of America currently residing in the Parish of East Baton Rouge, Louisiana. He is employed

by A&R. Austin provided legal services to Stanford Financial Group, including Stanford Trust

Company (Louisiana) and Stanford Group Company. Under Federal Rule of Civil Procedure 4(e)(1)

and Texas Rules of Civil Procedure 106(a)(2) and 108, Austin may be served with process by



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mailing a true copy of the citation with an attached copy of this Complaint, by registered or certified

mail, return-receipt requested, to Austin’s usual place of business.

       8.      Defendant Claude F. Reynaud, Jr. (“Reynaud”) is an individual lawyer and citizen of

the United States currently residing in Baton Rouge, Louisiana. He is employed at BSW. Reynaud

provided legal services to Stanford Financial Group, including Stanford Trust Company (Louisiana)

and Stanford Group Company. Reynaud also served as a Director of Stanford Trust Company

(Louisiana) from 2000 until 2009. Under Federal Rule of Civil Procedure 4(e)(1) and Texas Rules

of Civil Procedure 106(a)(2) and 108, Reynaud may be served with process by mailing a true copy of

the citation with an attached copy of this Complaint, by registered or certified mail, return-receipt

requested, to Reynaud’s usual place of business.

       9.      Defendant Cordell Haymon (“Haymon”) is a citizen of the United States of America

currently residing in the Parish of East Baton Rouge, Louisiana. Haymon served as a Director of

Stanford Trust Company (Louisiana) from 2003 until 2008. Under Federal Rule of Civil Procedure

4(e)(1) and Texas Rules of Civil Procedure 106(a)(2) and 108, Haymon may be served with process

by mailing a true copy of the citation with an attached copy of this Complaint, by registered or

certified mail, return-receipt requested, to Haymon’s usual place of business.

       10.     Defendant Thomas Frazer (“Frazer”) is a citizen of the United States of America

currently residing in the Parish of East Baton Rouge, Louisiana. Frazer served as a Director of

Stanford Trust Company (Louisiana) from 2003 until 2008. Under Federal Rule of Civil Procedure

4(e)(1) and Texas Rules of Civil Procedure 106(a)(2) and 108, Frazer may be served with process by

mailing a true copy of the citation with an attached copy of this Complaint, by registered or certified

mail, return-receipt requested, to Frazer’s usual place of business.



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                               III.   PERSONAL JURISDICTION

       11.     This Court has personal jurisdiction over the non-resident Defendants under the Texas

Long Arm Statute. Defendants have conducted continuous and systematic business in the State of

Texas for many years and are therefore subject to general jurisdiction. Furthermore, as described

herein, Defendants have engaged in specific jurisdiction contacts with the State of Texas, specifically

with Stanford Financial Group (“Stanford Financial”) headquartered in Houston, Texas, that give rise

to Plaintiffs’ causes of action, and therefore Defendants have done business and committed torts, in

part, in the State of Texas.

       12.     As alleged further below, Defendants A&R, BSW, Schmidt, Austin and Reynaud

served as lawyers for several important companies within Stanford Financial, which is head-

quartered in Houston, Texas. (Collectively, Defendants A&R, BSW, Schmidt, Austin and Reynaud

are referred to as the “Lawyer Defendants”.) As alleged further below, Defendants Reynaud,

Haymon and Frazer served as directors for Stanford Trust Company (Louisiana), which was an

important segment of Stanford Financial headquartered in Houston, Texas.                (Collectively,

Defendants Reynaud, Haymon and Frazer are referred to as the “Director Defendants”.) In their

capacities as lawyers and/or directors for these Stanford Financial companies, the Lawyer Defendants

and Director Defendants engaged in extensive contacts with Stanford Financial personnel based in

Houston, Texas, including the General Counsel of Stanford Financial, related to their provision of

services to the Texas-based Stanford Financial group of companies. In conjunction with providing

these professional services, the Lawyer Defendants and Director Defendants engaged in contacts

with the State of Texas that assisted and perpetuated an important segment of the Stanford Ponzi

scheme described herein. Based on their general and specific contacts with the State of Texas, the

Lawyer Defendants and Director Defendants have purposefully availed themselves of the privilege of

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conducting activities within Texas and have established minimum contacts with the State of Texas

under the Long Arm Statute.

        13.    Furthermore, this Court has personal jurisdiction over Defendants pursuant to FED.

R. CIV. P. 4(k)(1)(C) and 28 U.S.C. §§ 754 and 1692.

                    IV.    SUBJECT MATTER JURISDICTION & VENUE

        14.    This Court has jurisdiction over this action, and venue is proper, under Chapter 49 of

Title 28, Judiciary and Judicial Procedure (28 U.S.C. § 754). Further, as the Court that appointed the

Receiver and the Committee, this Court has jurisdiction over any claim brought by the Receiver (or

the Committee as assignee) to execute Receivership duties. Further, within 10 days after the Court

entered the Order and Amended Orders Appointing Receiver, the Receiver filed the original

Securities and Exchange Commission Complaint and the Order Appointing Receiver in the United

States District Court for the Southern District of Florida and the United States District Courts for the

districts in Texas pursuant to 28 U.S.C. § 754, giving this Court in rem and in personam jurisdiction

in those districts and every other district where the Complaint and Order have been filed.

                                 V.    FACTUAL BACKGROUND

A.      The Stanford Financial Group Empire

        15.    From the mid 1980s through February 2009, R. Allen Stanford (“Stanford”) — a

former bankrupt gym owner from Mexia, Texas — built a financial service empire that at its height

boasted 30,000 customers in 130 countries managing billions of dollars in investment funds. The

empire was comprised of over 140 companies from across the globe, all of which were ultimately

owned by Stanford himself. The companies operated under the brand name “Stanford Financial”

with their worldwide headquarters located in Houston, Texas. The conglomeration of Stanford

companies included but were not limited to: (i) the Houston, Texas-based registered broker/dealer

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and investment adviser company Stanford Group Company (“SGC”); (ii) the Houston-based

administrative company that serviced all the different companies, Stanford Financial Group

Company; (iii) the Antiguan-based offshore bank Stanford International Bank Ltd. (“SIBL”); (iv)

Stanford Trust Company (Louisiana) (“STC”); (v) Stanford Trust Company Ltd. (Antigua)

(“STCL”); and (vi) the representative offices of Stanford Trust Company Ltd. (Antigua), d/b/a

“Stanford Fiduciary Investor Services” (“SFIS”), that operated in Miami, Houston, and San Antonio.

Stanford Financial was ultimately controlled and managed principally from Houston, Texas in the

United States.

           16.   Stanford Financial’s offshore banking operation began as Guardian International Bank

in the mid 1980s. Over the years, Stanford Financial grew into a purported full-service financial

services firm, offering worldwide clients private banking and U.S.-based broker/dealer and

investment adviser services. Stanford Financial gave its clients all the appearances of a highly

successful operation, with lavish offices in some of the world’s premier cities. Stanford himself

made the Forbes list of the richest people in the world with a personal fortune estimated at $2.2

billion.

           17.   The entire Stanford Financial operation was fueled primarily by one product:

Certificates of Deposit (“CDs”) issued by SIBL, the Antiguan offshore bank wholly owned and

controlled by Stanford himself. Clients who were introduced to Stanford Financial, whether in

Houston, Miami, Caracas, or Mexico City, quickly learned that the main financial product peddled

by the group was the SIBL CD. SIBL CDs were sold worldwide by a web of different Stanford

Financial promoter companies, including SGC, STC and SFIS, whose function was to promote the

sale of SIBL CDs. For example, to access additional investor capital in Latin America, Stanford

Financial established representative offices in Colombia (Stanford Group Columbia a/k/a Stanford

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Bolsa y Banca), Ecuador (Stanford Group Ecuador a/k/a Stanford Group Casa de Valores, S.A. and

Stanford Trust Company Administradora de Fondos y Fideicomisos, S.A.), Mexico (Stanford Group

Mexico a/k/a Stanford Group Mexico S.A. de C.V. and Stanford Fondos), Panama (Stanford Group

Panama a/k/a Stanford Bank Panama and Stanford Casa de Valores Panama), Peru (Stanford Group

Peru a/k/a Stanford Group Peru S.A. Sociedad Agente de Bolsa), and Venezuela (Stanford Group

Venezuela a/k/a Stanford Group Venezuela C.A., Stanford Bank Venezuela, and Stanford Group

Venezuela Asesores de Inversion).        These foreign offices were ultimately controlled and

administered by Stanford Financial employees in Houston, Texas. By February 2009, Stanford

Financial’s records reveal that SIBL had total CD account balances of approximately $7.2 billion.

B.     Stanford Financial’s Operations in the United States

       18.     For the first decade of its operations, 1985 to 1995, Stanford Financial and its

offshore bank (whether Guardian or SIBL) targeted a Latin American clientele. But by the late

1990s, Stanford Financial had established a foothold in the United States. In 1995, Stanford

Financial established SGC, and in February 1996, SGC was registered as a broker/dealer and

investment adviser. SGC established offices initially in Houston and Baton Rouge, Louisiana. SGC

began the practice of “head hunting” for U.S. brokers, bankers, and other financial advisers, paying

them enormous signing bonuses to leave their jobs at other firms and transfer their books of clients

over to SGC. Fueled by this influx of veteran bankers, brokers and financial advisers, SGC grew

from 6 branch offices in the United States in 2004 to more than 25 offices across the United States

(but principally concentrated in the Southern United States) in 2007.

       19.     Since the 1980s, Allen Stanford recognized the huge potential for marketing his

offshore CDs to Latin Americans via the “gateway” city of Miami. In 1998, Stanford Financial

established SFIS in order to sell the SIBL CDs to foreign investors out of Miami. SFIS was

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organized under Florida state law in order to evade federal banking and securities regulations. The

Miami office of SFIS generated over $1 billion in SIBL CD sales for Stanford Financial, primarily

from sales to CD investors from South American countries such as Colombia, Ecuador, Peru, and

Venezuela. Stanford Financial also set up SFIS offices in Houston and San Antonio, Texas to cater

to Mexican investors visiting those cities.

       20.     To increase sales of its SIBL CDs, Stanford Financial eventually began to sell the

CDs to U.S. investors’ IRA accounts. STC was therefore established in Baton Rouge, Louisiana in

1998 to serve as the trustee/custodian for IRA accounts owned by investors referred to STC by SGC.

After STC was established, SGC’s brokers and investment advisers convinced the IRA investors to

invest some or, in many cases, all of their IRA accounts into the SIBL CDs.

       21.     For all of these promoter companies — whether SGC, SFIS, or STC — the primary

product marketed and sold was the SIBL CD, as it sustained Stanford Financial’s operations and paid

the employees’ exorbitant salaries and bonuses. The promoter companies were all members of

Stanford Financial, were ultimately owned by Stanford himself, were interconnected via

intercompany marketing and referral fee agreements, and were controlled by Stanford Financial in

Houston, Texas.

       22.     Houston, Texas was Stanford Financial’s nerve center and principal base of all

operations, including SIBL, SGC, SFIS, and STC. STC was wholly owned by Houston-based SGC

and controlled by Stanford Financial personnel in Houston, and virtually every member of the STC

Board of Directors at any time was an employee of SGC. Stanford Financial directed STC’s

operations and provided all administrative functions from Houston. STC’s annual budget and

financial forecasts were prepared by Stanford Financial personnel in Houston, and even

reimbursement of expenses for STC employees was handled out of Houston.

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         23.   All the sales and marketing practices for the entire Stanford Financial group of

companies — including SIBL — as well as general operational and administrative functions, were

managed under the overall direction, supervision, and control of the Houston offices of Stanford

Financial. SIBL itself never had a marketing or sales arm in Antigua; rather it depended entirely on

all the separate promoter or “feeder” companies like SGC, SFIS, and STC to sell its CDs. The head

of Stanford Financial’s global sales operation for the marketing and sale of SIBL CDs was located in

Houston, Texas.

         24.   The sales practices, directives, techniques, strategies and reward programs for

Stanford Financial, including SIBL, were developed and crafted in Houston and disseminated to the

various Stanford Financial branch offices around the world, including STC and SFIS. The sales

force training manuals, promotional literature, and materials for SIBL, including the Spanish-

language promotional materials used by SGC, STC and SFIS, were created, printed, packaged and

mailed from Stanford’s Houston headquarters to the other Stanford Financial sales offices around the

world to be utilized by the local sales force in each country.

         25.   In addition, mandatory sales training for the Stanford Financial sales force for SIBL

CDs was conducted principally in Houston (known to the foreign financial advisers as the “Houston

experience”) by Stanford Financial personnel. In those mandatory training sessions, sometimes

twice a year, Stanford Financial’s financial advisers (“FAs”) were trained to sell the image of

Stanford Financial. The “script” for why SIBL was a safe and secure place to invest money, as set

forth in the training manuals and reinforced “live” in Houston, was drilled and drilled again into their

heads.




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C.     The Anatomy of the Stanford Ponzi Scheme

       26.     The reality of Allen Stanford’s empire was that Stanford Financial was nothing more

than a massive, worldwide Ponzi scheme. The gist of the fraud was actually quite simple: (1) sell the

offshore SIBL CDs through a flashy marketing campaign designed to trick investors into believing

they were purchasing safe, secure (even insured) and highly liquid CDs that were regulated in the

United States because SGC was a U.S. licensed broker/dealer; while at the same time (ii)

maintaining a veil of secrecy over the SIBL asset portfolio and what Stanford was actually doing

with the CD investors’ money (which ended up being whatever Allen Stanford wanted). Thus Allen

Stanford and Stanford Financial went to great lengths to keep prying eyes, particularly regulatory

eyes, away from SIBL’s operations and, especially, its asset portfolio.

       27.     SIBL was actually insolvent (i.e., its liabilities exceeded the fair value of its assets)

from at least 1999 and most likely since inception, yet it continued selling CDs to the bitter end.

Stanford induced investors to buy CDs by offering unusually consistent and above-market rates,

publishing fraudulent financial statements prepared by a small accounting firm in Antigua, C.A.S

Hewlett & Co., Ltd. (“Hewlett & Co.”), furnishing other data that significantly overstated SIBL’s

earnings and assets, and misrepresenting its business model, investment strategy, financial strength,

safety and nature of its investments, and other facts important to investors. In reality, SIBL’s

earnings and assets were insufficient to meet its CD-payment obligations, so the only way Stanford

Financial could keep the scheme going was by using proceeds from new CD sales to pay

redemptions, interest, and operating expenses. SIBL’s assets were inflated to offset CD obligations

and its revenues were “reverse-engineered” to arrive at desired levels.        Each year or quarterly

reporting period, Stanford Financial would simply determine what level of fictitious revenue SIBL

“needed” to report in order to both look good to investors and regulators and purport to cover its CD

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obligations and other expenses. Stanford Financial would then back into the necessary revenue

amount by assigning equally fictitious revenue amounts to each category (equity, fixed income,

precious metals, alternatives) of a fictitious investment allocation.

D.     The Beginning: Guardian International Bank

       28.     Stanford opened his first offshore bank, Guardian International Bank Ltd. (“GIBL”),

in 1985 on the tiny Caribbean island of Montserrat (12,000 residents). In order to provide the

appearance of legitimacy to aid in sales, Stanford established representative offices for GIBL in

Miami and Houston, under the name of Guardian International Investment Services (“GIIS”).

Guardian served as the starting point and roadmap for creating the Stanford Financial empire, as

Stanford followed this same strategy for the next 24 years: utilizing an offshore bank with U.S. sales

and administrative offices. GIBL’s main product was a bank certificate of deposit — with rates

typically 2% to 3% above the average rates available in the U.S. market — and protected by all the

confidentiality associated with offshore private banking. Stanford brought in his old college

roommate James Davis to help run operations.

       29.     By 1988 Stanford had been accused of violating banking laws in Texas for running

unlicensed “feeder” sales offices in Houston for GIBL. The U.S. Office of the Comptroller of the

Currency (“OCC”) in 1988 and again in 1989 issued advisories concerning Stanford’s similar

violations of banking laws in Florida and California.

       30.     By 1989, the banking system in Montserrat came under investigation by British and

U.S. authorities. Consequently, GIBL itself came under scrutiny for possible drug money laundering,

so Stanford looked to move his bank to a new location. On November 28, 1990, the Financial

Secretary of Montserrat notified Stanford that it was going to revoke Stanford’s banking licenses



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because: (i) GIBL’s auditor, Hewlett & Co., was not an approved auditor; 1 (ii) GIBL was operating

in a manner “detrimental to its depositors”; (iii) GIBL failed to supply satisfactory details as to its

liquidity; (iv) one of GIBL’s directors (Allen Stanford) was formerly bankrupt; and (v) GIBL had

failed to submit annual financial statements. Before the threatened revocation could be imposed,

however, Stanford picked up and re-incorporated GIBL in Antigua in December 1990 and transferred

all the assets of his Montserrat-licensed bank to the new Antiguan-licensed GIBL. By May 1991,

Stanford’s banking license was officially revoked by the Montserrat Government (although in 1994

Stanford later sued the Government of Montserrat to have that order rescinded). In effect, Stanford

simply picked up his banking operations and moved them to Antigua, and continued the same basic

business plan that had proven so profitable for Stanford in Montserrat. Stanford eventually changed

the name of his Antiguan bank from Guardian to Stanford International Bank Ltd. (SIBL) in 1994.

E.       Stanford Creates a Safe Haven in Antigua

         31.      Stanford could not have perpetuated this massive fraud without his significant

influence with the Antiguan Government. Stanford basically used the money he stole from Stanford

Financial and its CD investors to curry favor with Antiguan officials and build a safe haven for his

Ponzi scheme. Stanford had fled Montserrat precisely because he could not exert sufficient pressure

on the local government there, and he was swept up in Montserrat’s clean-up of the banking sector in

the late 1980s. When Stanford fled to Antigua in December 1990, Antigua had the reputation of

being the most corrupt island in the Caribbean.

         32.      Stanford immediately “bought” his influence in Antigua by purchasing the ailing and

insolvent Bank of Antigua, and he extracted concessions from the Antiguan Government, including



1
  The Montserrat Government determined that Stanford’s accountant, whom he used continuously as SIBL’s only
auditor from 1987 until Stanford’s collapse in 2009, fell short of the standards of qualification for an approved auditor,
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permits for Stanford to establish his new Ponzi bank by replacing GIBL with SIBL and Stanford

Trust Company Ltd. (“STCL”), as well as residency status in Antigua for Stanford and his top

executives.

        33.      In 1994, Stanford further inserted himself into Antiguan political affairs by involving

himself and his banks into the Antiguan Government’s efforts to build a new hospital, an opportunity

that arose after Allen Stanford helped the Prime Minister, Lester Bird, by flying him to Houston and

paying for Bird’s medical expenses after Bird thought he was having a heart attack.

        34.      In November 1994, Bird agreed to allow Stanford to be the “eyes and ears” of the

Antiguan Government by permitting Stanford to select contractors for the hospital project, and

Stanford, through his companies, assumed the role of lead financier on the project. Stanford

purportedly funded an interim loan to the Government of Antigua to finance 100% of the project’s

architectural and engineering costs. Eventually, Stanford lent the Antiguan Government over $40

million for the new hospital through his Bank of Antigua. The impoverished Antiguan Government,

which in essence served as SIBL’s only purported regulator, became heavily indebted to Stanford.

        35.      Stanford’s involvement in the hospital project prompted a 1996 U.S. Congressional

investigation of corruption in Antigua, spearheaded by the FBI. The Antiguan Hospital scandal set

off a firestorm of negative press reports in Antigua about Lester Bird, Antiguan corruption, and Allen

Stanford’s influence in Antigua. In a pair of November 1995 front-page articles in Antigua’s

“Outlet” newspaper, the author questioned where Stanford got the money to loan the government $40

million because the Bank of Antigua likely did not have that kind of money and did not even publish

its financial statements as required by Antiguan banking law. The author also complained that Lester



and the government accused Stanford of only using Hewlett to “influence the withholding of detailed information that
would normally be expected in audited financial statements.”

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Bird’s government had basically allowed Allen Stanford to “run things” in Antigua, and that the

government had been giving away Antiguan land to Stanford, including the Antiguan airport and

contiguous land.

       36.     By 1996, Stanford was indeed flexing his muscle in Antigua. The Antiguan

Government even allowed Stanford to rewrite the laws that regulated Stanford’s own business

activities in Antigua. In June 1995, Stanford began drafting offshore trust legislation for Antigua

because Antigua had no such legislation in existence (despite the fact that Stanford had set up a

“trust” company, STCL, in Antigua in 1991). Stanford’s right hand and General Counsel at the

time, Yolanda Suarez (“Suarez”), described how Stanford needed trust legislation for Antigua

because he wanted to “develop Antigua as a platform” for offshore trust operations.

       37.     By 1996, Antigua was attacked in the international press for being a haven for money

launderers and drug smugglers. Offshore banks were being established left and right. Stanford felt

this undesirable press coverage would eventually disrupt or endanger his own fraudulent business.

He decided that he needed to “clean up” Antigua’s reputation. In September 1996, Stanford’s agents

directed a letter to Antigua’s Prime Minister Lester Bird offering suggestions on how Antigua could

clean up its banking sector. The letter pointed out how Antigua had recently been the subject of

some terrible reports in the press, including an article in the Washington Post describing how

Antigua and its offshore banking sector had become a haven for fraudsters and con artists. The letter

then suggested fifteen steps the Government of Antigua could take in the banking and trust areas to

establish some credibility for Antigua’s financial sector.

       38.     In June 1997, at Stanford’s instigation, the Antiguan Government formed and

chartered the “Antiguan Offshore Financial Sector Planning Committee” to formulate

recommendations to reform the Antiguan offshore banking sector. Not surprisingly, Allen Stanford

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was appointed to chair the Committee. The Committee formed a Task Force to (i) review all

offshore banks licensed in Antigua to ensure they were legitimate, and (ii) evaluate Antigua’s

banking regulatory regime and make recommendations to address any weaknesses identified.

       39.     Allen Stanford appointed every member of the Task Force, and every one of them was

on Stanford’s pay roll. The members of Stanford’s Task Force included three of Stanford’s outside

lawyers; Kroll executives Tom Cash and Ivan Diaz; and several partners or associates from

Stanford’s domestic U.S. auditor BDO Seidman, namely Michael Ancona, Jeffrey Balmer, Keith

Ellenburg, and Barry Hersh. No Antiguan citizen served on the Task Force.

       40.     On September 15, 1997, the Task Force outlined some of its recommendations “for

further development and eventual implementation” by the Antiguan Government. In the section

entitled “International Cooperation”, the Task Force wrote that, while it was important for the

Antiguan Government to cooperate with the judicial and regulatory authorities of other countries, at

the same time, “it is essential that Antigua and Barbuda not permit the wealth of its people and

businesses to become the targets of overly aggressive enforcement actions.” One way to avoid such

“overly aggressive enforcement actions,” according to the Task Force, was to revise the list of

“prescribed offenses” in Antiguan law such that the Antiguan Government would only be

required to cooperate with foreign governments with respect to the “most serious of crimes, as

intended, and not to lesser crimes which could conceivably be included under such vague terms as

‘fraud’ or ‘false accounting’.”

       41.     The Task Force worked closely with Wrenford Ferrance, an Antiguan Government

official that Prime Minister Bird nominated as the Government’s representative and liaison to the

Task Force. Although he was appointed by Prime Minister Bird to serve as Antigua’s Director of



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International Business Corporations, Ferrance looked to Stanford’s agents on the Task Force for

guidance.

       42.     Stanford’s reforms in Antigua created a new Antiguan regulatory body, the

International Financial Sector Authority (“IFSA”), that was charged with supervising and regulating

the offshore banking sector. Incredibly, Stanford was appointed as the Chair of the IFSA, and one

of his U.S. lawyers served along with Stanford’s Antiguan lawyer, Errol Cort, who also happened to

be the Attorney General of Antigua. As a former member of the British High Commission in

Barbados, Rodney Gallagher, put it: “Stanford effectively became the man who controlled the

regulator.”

       43.     After the IFSA was set up, according to news reports, Stanford’s first order of

business was to seize all the banking records of SIBL’s offshore bank competitors in Antigua.

Althea Crick, an Antiguan woman who had been appointed as the executive director of the IFSA,

refused to turn the records over to Stanford. So on February 8, 1999, Stanford sent his agents to the

IFSA offices in the middle of the night, where they took the locked door off of its hinges and

stormed in and seized the file cabinets containing the confidential bank records and carted them off

to Stanford’s offices to be copied. 2

       44.     The U.S. Government responded to Stanford’s banking reforms and other

shenanigans. In April 1999, the U.S. Treasury Department’s Financial Crimes Enforcement Network

(“FinCEN”) issued an Advisory (the “Advisory”) to warn banks and other financial institutions that

banking transactions involving Antigua should be given enhanced scrutiny because the Antiguan

government had significantly weakened its banking laws and regulatory agencies. The Advisory also

warned that the Antiguan government’s new Stanford-created and Stanford-staffed regulatory



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agency, IFSA, was rife with conflicts of interest because its “board of directors includes

representatives of the very institutions the Authority is supposed to regulate.” According to the

Advisory, this “rais[ed] serious concerns that those representatives are in fact in control of the

IFSA, so that the IFSA is neither independent nor otherwise able to conduct an effective regulatory

program in accordance with international standards.” The Advisory continued,

                  The amendment of the Money Laundering (Prevention) Act, combined
                  with changes in [Antigua’s] treatment of its offshore financial
                  services sector, are likely to erode supervision, stiffen bank secrecy,
                  and decrease the possibility for effective international law
                  enforcement and judicial cooperation regarding assets secreted in
                  [Antigua]. These changes threaten to create a ‘haven’ whose
                  existence will undermine international efforts of the United States
                  and other nations to counter money laundering and other criminal
                  activity, a concern of which the United States has repeatedly made
                  the government of [Antigua] aware. The actions taken by the
                  government of [Antigua] that weaken that nation’s anti-money
                  laundering laws and oversight of its financial institutions necessarily
                  raise questions about the purposes of transactions routed into or out
                  of [Antigua] or involving entities organized or domiciled . . . in
                  [Antigua].


          45.     From 2005 through 2009, Stanford Financial and its outside counsel relied on some

of these purported bank secrecy provisions to thwart several subpoenas and requests for documents

from the United States Securities and Exchange Commission (“SEC”) and other regulators who were

investigating Stanford’s CD program. Stanford’s constant refrain was that SIBL was prohibited by

Antiguan secrecy laws from turning over any of its financial records to the SEC and other regulators.

          46.     Now established in Antigua, Stanford quickly set about strengthening his symbiotic

relationship with the local government. In return for political cover, Stanford eventually became a

major source of funding for the entire island, eventually loaning tens of millions of dollars to the


2
    Michael Bilton, “The Texan Who Fell to Earth”, The Sunday Times, January 9, 2011.

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Antiguan Government. Stanford even bought the Antiguan newspaper, the Antiguan Sun, to

influence the media. By 2004, the Antiguan Government owed over $87 million to Stanford

Financial — nearly half the island’s annual tax revenues — and certain of its loans were secured by

the government’s tax revenues and medical fund.

       47.     Stanford leveraged his influence with the Antiguan Government through corruption.

Besides paying some $48,000 for Prime Minister Lester Bird’s medical treatment ($28,000 billed to

Stanford Financial in Houston for the private medi-vac plane, and $20,000 for the hospital and

treating physician bills), Stanford also corrupted other members of the Antiguan Government

through loans and kickbacks disguised as political contributions. Stanford’s various companies

loaned tens of thousands of dollars to various Antiguan Government officials. For example,

Stanford loaned $30,000 to the Antiguan Minister of Finance, Molwyn Joseph, in February 1992,

evidenced by a Promissory Note. The Minister of Finance, who during this time period was

ultimately charged with overseeing Stanford’s offshore bank, never paid a dime on that loan.

       48.     One of the ways that Stanford disguised his bribes to Antiguan government officials is

evidenced by a May 6, 1994 Memo from Stanford to his personal assistant Jean Gilstrap, in which

Stanford instructed Gilstrap to mark as “paid” the Promissory Note for the loan made to Molwyn

Joseph (again, at that time the Antiguan Minister of Finance) and record it on the company’s books

as a political contribution. He further noted that, prior to the recent Antiguan elections, Stanford had

informed Joseph that he would contribute to Joseph’s political party, the ALP, by “liquidating”

Joseph’s personal note.     Stanford also instructed Gilstrap to make sure she noted that the

“contribution” was made “after” the elections.

       49.     Also in January 1996, Suarez prepared several spreadsheets that detailed money

Stanford had loaned to senior Antiguan government officials, either through direct loans or through

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credit cards, as well as loans made to the Antiguan Government. This document revealed that at the

time, 11 senior Antiguan Government officials, including Lester Bird and Molwyn Joseph (who

had received a new $100,000 loan from Stanford), owed Stanford a combined $140,000.

       50.     Stanford’s efforts to corrupt Antiguan officials were brazen. A November 2003

newspaper article reported that Stanford had been accused of bribing two Antiguan Government

officials — his old friend Molwyn Joseph and Gaston Browne — by giving them $100,000 each as

inducement for their help in a land swap that Stanford was trying to orchestrate. The article reported

that members of the Antiguan opposition party had brought motions to suspend both ministers. The

article further reported that Stanford’s response to the accusation was to hold a press conference in

which he “surprised” the audience by cavalierly declaring that he was going to donate an additional

$200,000 to each of the two Antiguan officials.

       51.     Antigua’s corruption and lax banking regulations is likewise borne out by the Plea

Agreement entered by Stanford CFO Jim Davis (the “Davis Plea”), as well as by the June 18, 2009

federal grand jury Indictment of inter alia, Allen Stanford, Laura Pendergest-Holt, and Leroy King

(“King”), Stanford’s good friend and former head of Antigua’s financial regulator, the Financial

Services Regulatory Commission (the “FSRC”), which replaced the previous IFSA. The Davis Plea

and Indictment allege that for years, King — while acting as the CEO of the Antiguan FSRC —

accepted bribes from Stanford and/or his associates in return for his assurance that the FSRC “looked

the other way” and would not properly perform its regulatory functions or supervise SIBL. King

even entered into a bizarre “blood brother” ritual with Allen Stanford in which he agreed to forever

be bound to Allen Stanford. As part of this blood-brother relationship and bribery, King became

Stanford’s regulatory spy and “inside man” who relayed information to Stanford concerning the

SEC’s investigations of Stanford Financial and SIBL from 2005 all the way until 2009. This was

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just part of Stanford’s broader conspiracy to keep his Ponzi scheme alive by evading and obstructing

regulatory oversight of SIBL’s activities, at every turn, and in every country.

       52.     The Indictment and Plea Agreement also describe how Stanford’s Antiguan auditor,

Hewlett & Co., accepted “special” compensation from Stanford’s secret “SocGen” “slush fund”

account to fraudulently report SIBL’s financial condition for use in SIBL’s annual reports for some

twenty years. Hewlett & Co. forwarded those fraudulent “audits” to Stanford Financial in Houston,

Texas every year for 20 years with full knowledge that the fraudulent audits would be utilized in

Stanford’s marketing materials to defraud depositors.

F.     Stanford Was Under Constant U.S. Government Investigation

       53.     Stanford Financial was under virtually constant investigation by various agencies of

the U.S. Government for 20 years. In 1991, following the OCC advisories about GIBL, the FBI, U.S.

Customs, and local Mexia, Texas law enforcement authorities investigated Stanford’s possible

involvement in drug money laundering. This investigation resulted in a U.S. Customs search of

Stanford’s private jet aircraft when he returned from the Caribbean. The FBI documents noted that,

subsequent to that search of Stanford’s plane, “the Stanfords proceeded to fire a number of

employees whom they suspected might be providing information to the authorities.”

       54.     U.S. Customs documents from this same time period described GIBL as having

“constant cash flow” from foreign depositors but “no regulation of its activities,” and documents

indicated that U.S. Customs in San Antonio also had taken an interest in the “possible smuggling

activities of principals in the Stanford organization.” Other documents from the FBI reveal that

Stanford had been under constant investigation for possible money laundering since 1989, and the

FBI had even sent an agent to London as part of the investigation in September 1992. Stanford was

well known to U.S. authorities and “stayed very prominently on the radar for years,” says one former

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F.B.I. agent who investigated Stanford. “There was a series of investigations. Obviously none of

them ever ended in indictments. But we’re talking various F.B.I. field divisions, with multiple

agents, then multiple agencies.”

G.     Stanford Expands its Sales Operations in the United States

       55.     After having failed to establish a fully licensed representative office in the United

States for his offshore bank, SIBL, Stanford finally crossed the Rubicon that would ultimately lead to

his downfall by establishing an SEC-licensed securities broker/dealer and investment adviser

company, Stanford Group Company (SGC), in 1996. SGC’s primary mission (as usual) was to refer

customers to SIBL in Antigua for the purchase of fictitious CDs.

       56.     At roughly the same time, Stanford also moved to expand his U.S.-based sales of

SIBL CDs to Latin American investors by establishing a representative office for his Antiguan

offshore trust company, Stanford Trust Company Ltd. (STCL). In September 1998, after a year of

studying this option, Stanford decided to establish a trust representative office in Miami. After heavy

lobbying of Florida officials, Stanford established the office, naming it Stanford Fiduciary Investor

Services (“SFIS”). Stanford expanded the SFIS model by opening additional SFIS “trust

representative offices” in Houston and San Antonio in 2001 and 2005. SFIS’s sole mission was to

sell SIBL CDs to Latin American investors, including exclusively Mexican investors through the San

Antonio office. By 2005, sixteen of the SFIS Miami employees were actually licensed securities

brokers doing nothing but selling SIBL CDs. More than $1 billion of SIBL CDs were sold through

the Miami office alone.

       57.     Stanford also established a new trust company in 1998 called Stanford Trust

Company (Louisiana) (“STC”), which enabled Stanford Financial to sell SIBL CDs to the IRA

accounts of SGC’s U.S. investor clients and other investors. As discussed further below, this new

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IRA component of Stanford’s Ponzi scheme eventually diverted and funneled hundreds of millions

of dollars into Stanford Financial.

        58.     In November of that year, Stanford caused SIBL to file a Regulation D exemption

with the SEC. The exemption allowed Stanford Financial, via the broker/dealer SGC, to sell SIBL

CDs to U.S. “accredited investors” in the United States without registering them as securities.

Stanford’s initial Reg. D filing listed CD offerings totaling only $50 million.

        59.     After the initial Reg. D filing in 1998, Stanford Financial began to exploit U.S.

investors and Allen Stanford’s empire grew exponentially. SIBL filed an amended Reg. D in

November 2001 to increase the Reg. D offering to $150 million. SIBL filed two additional

amendments in 2004 (March and then November) increasing the size of SIBL CD offerings to $200

million and then $1 billion, clearly evidencing the massive sales of SIBL CDs taking place in the

United States. Finally, in November 2007, SIBL filed yet another Reg. D amendment to increase the

size of the offering to $2 billion.

        60.     By 2003, Stanford Financial had printed and distributed some 30,000 offering

brochures for SIBL CDs to its FAs. In 2005, Stanford Financial launched an intensive television

advertising campaign in the United States to promote the sale of SIBL CDs. By March 2006,

Stanford Financial had distributed 4,424 SIBL CD “Accredited Investor” packets to investors under

the Reg. D offering.

H.      Stanford Breeds Loyalty Through Exorbitant Compensation

        61.     From 2004 to 2008, Stanford Financial grew into a high-powered sales and marketing

machine. The different Stanford Financial sales offices competed with each other for CD sales, and

developed team names like “Money Machine”, “Aztec Eagles” (the Mexico team) and “Superstars”.

To market and sell the SIBL CDs, Stanford Financial established a commission structure that

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provided huge incentives for Stanford Financial’s FAs, including those at SGC, to “push” the SIBL

CDs on investors. SIBL paid disproportionately large referral fees to SGC for the sale of its CDs:

SGC received a 3% referral fee upon each sale of a SIBL CD, with 1% going to the SGC broker who

made the sale. The FAs were eligible to receive an additional 1% trailing commission throughout

the term of the CD. Stanford also held “sales contests” and gave lavish gifts to the FAs that sold the

most CDs.     Stanford Financial used this generous commission structure to recruit established

financial advisers, and to reward those advisers for aggressively selling SIBL CDs to investors. Of

course, these kind of commission and bonus structures are extremely rare for bank CDs, largely

because they cannot be sustained economically.

I.     Dissecting the Fraud

       62.     The ultimate reality of Stanford Financial is that it was, at all times, a Ponzi scheme

based out of Houston, Texas. Stanford Financial, acting through its international network of

companies and FAs: (i) lured money from investors; (ii) gave them a virtually worthless “IOU” piece

of paper called a “Certificate of Deposit” in return; and (iii) then diverted the investors’ money to

support Allen Stanford’s lavish lifestyle, prop up other Stanford Financial entities, and acquire

various illiquid and high-risk assets, including unsecured, fictitious personal “loans” to Allen

Stanford and massive amounts of Antiguan real estate. None of the investors’ money was

segregated. Instead, investor money was commingled within Stanford Financial and then spread

among all the various companies that comprised Stanford Financial to fund the group’s operations.

As such, Stanford Financial was violating the Investment Company Act by operating as an

unregistered “fund” and selling its internal securities product (the CDs) to investors. Additionally,

Section 47(b) of the Investment Company Act provides:



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               A contract that is made, or whose performance involves, a violation
               of this [Investment Company] Act, is unenforceable by either party to
               the contract who acquired a right under the contract with knowledge
               of the facts by reason of which the making or performance violated or
               would violate any provision of this Act . . . unless a court finds that
               under the circumstances enforcement would produce a more equitable
               result than nonenforcement and would not be inconsistent with the
               purposes of this Act. 15 U.S.C. § 80a-46.


       63.     Stanford Financial was never registered nor authorized to operate as an investment

company in the United States, a fact that was never disclosed to CD investors, who were consistently

and uniformly told verbally and via the Stanford Financial promotional materials that, e.g., Stanford

Financial was compliant, authorized, and regulated by the SEC and Financial Industry Regulatory

Authority (“FINRA”), and backed by insurance coverage from the Securities Investor Protection

Corporation (“SIPC”) and Lloyd’s of London. CD investors were never told that the acts of Stanford

Financial and its unregistered investment company were void as a matter of law under Section 47 of

the Investment Company Act.

       64.     As part of this fraud, Stanford Financial also uniformly touted the high liquidity of

SIBL’s investment portfolio. For example, in its marketing materials distributed to CD investors

from at least 1995 through 2009, Stanford Financial emphasized the importance of the SIBL CD’s

liquidity, stating (under the heading “Depositor Security”) that the bank focuses on “maintaining the

highest degree of liquidity as a protective factor for our depositors.” None of that was true.

Likewise, Stanford Financial trained its FAs to stress liquidity in their marketing pitches to

prospective investors, telling the brokers and advisers that the “liquidity/marketability of SIBL’s

invested assets” was the “most important factor to provide security to SIBL clients . . . .” To ensure

investors would buy SIBL CDs, Stanford Financial, through its FAs, assured CD investors that

SIBL’s investments were liquid and diversified, and therefore that the CDs themselves were highly

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liquid and could be redeemed with just a few days notice. But in fact, nearly all of SIBL’s

investments were concentrated in high-risk, illiquid ventures: (i) unsecured, personal “loans” to

Allen Stanford of at least $1.8 billion; (ii) private equity investments in non-public companies; and

(iii) extensive real estate holdings in Antigua and elsewhere in the Caribbean. Moreover, Stanford

Financial fraudulently inflated the value of these claimed investments.

       65.     Contrary to Stanford Financial’s representations (both verbal and via the promotional

materials) to investors regarding the liquidity of SIBL’s portfolio from 1995 through 2009,

significant portions of SIBL’s portfolio were misappropriated by SIBL’s sole shareholder, Allen

Stanford, to fund his lavish lifestyle and invest heavily in Caribbean real estate development

ventures.

       66.     At the end of 2008, the largest segments of SIBL’s portfolio consisted of back-dated

“loans” to Stanford and over-valued real estate, primarily in the Caribbean. By February 2009, Allen

Stanford had misappropriated at least $1.8 billion through bogus personal loans to himself, and had

“invested” an undetermined amount of funds in speculative, unprofitable private businesses,

including investments in real estate and other private business ventures in Antigua. Much of the

remaining money was spent by Stanford Financial on creating and perpetuating the charade of

Stanford Financial’s image, with lavish offices, excessive bonuses and commissions paid to lure and

retain top performing sales personnel, extravagant special events for clients and employees, and the

other accoutrements necessary to shore up the Stanford Financial image of wealth, power, and

prestige. None of this was disclosed to CD investors, ever.

       67.     As alleged in the Davis Plea and in the criminal Indictment of Allen Stanford and his

associates, Stanford and his CFO Jim Davis fabricated the nature, size and performance of SIBL’s

investment portfolio and lied to CD investors about that portfolio. Gilberto Lopez and Mark Kuhrt,

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accountants for the Stanford Financial companies, fabricated the financial statements. Using a pre-

determined return on investment, typically provided by Stanford or Davis, Lopez and Kuhrt reverse-

engineered the bank’s financial statements to report investment income that SIBL did not actually

earn. Information in SIBL’s financial statements contained in its annual reports, created and issued

by Hewlett & Co., bore no relationship to the actual performance of SIBL’s purported investments.

SIBL’s financial statements and annual reports to CD investors were prepared, drafted, and

approved by Hewlett & Co. in conjunction with Stanford, Davis, Lopez and Kuhrt.

        68.     Stanford Financial sold billions of dollars of SIBL CDs by touting: (i) the bank’s

safety and security, including that invested funds were liquid and insured; (ii) consistent, double-digit

returns on the bank’s “liquid” investment portfolio; and (iii) high return rates on the CD that

exceeded those offered by commercial banks in the United States. It was at this time in 2008, in the

midst of the worldwide financial meltdown, that Stanford Financial began to crumble.

J.      Stanford’s House of Cards Finally Collapses

        69.     As alleged by the SEC and the United States Department of Justice, Stanford and

Davis fraudulently inflated the real estate and private equity holdings in SIBL’s portfolio so the bank

could maintain its minimum capital requirements. But in October 2008, Stanford Financial began

suffering liquidity problems caused by a depositor “run” on SIBL that frustrated SIBL’s efforts to

comply with client requests for funds transfers. SIBL’s CD transaction records indicate that

approximately $2 billion in CDs were redeemed from January 1, 2008 through February 17, 2009.

These redemptions had a huge impact on the ability of Stanford Financial’s FAs to keep clients

pacified, and on Stanford Financial’s ability to keep the Ponzi scheme afloat. As a result, the FAs

intensified their efforts to push the CDs on investors and bring in new money.



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       70.     In the wake of the Madoff scandal in January 2009, Venezuelan financial analyst Alex

Dalmady, as a favor for a friend, performed an analysis of SIBL’s returns over the years, taken from

SIBL’s publicly available Annual Reports, and then published his findings in a Venezuelan magazine

under the title “Duck Tales.” His findings were then re-published in various blog postings. Dalmady

concluded that Stanford Financial was nothing but another investment Ponzi scheme.

       71.     On February 6, 2009, Allen Stanford’s old friend Frans Vingerhoedt sent Stanford an

email, copying David Nanes, that illuminated Stanford Financial’s crumbling empire:

               [T]hings are starting to unravel quickly on our side in the Caribbean
               and Latin America…[w]e need to come up with a strategy to give
               preference to certain wires to people of influence in certain countries,
               if not we will see a run on the bank next week …[w]e all know what
               that means. There are real bullets out there with my name on [sic],
               David’s name and many others and they are very real…[w]e are all in
               this together.


       72.     On February 17, 2009, the SEC filed a Complaint against SGC and SIBL, as well as

against Allen Stanford and Jim Davis, in the U.S. District Court for the Northern District of Texas,

alleging a “massive Ponzi scheme of staggering proportions.” The SEC obtained an injunction to

freeze the assets of Stanford Financial, and Plaintiff Ralph S. Janvey was appointed to serve as

Receiver to liquidate the Stanford Financial group of companies.

       73.     On June 18, 2009, Stanford, Pendergest-Holt, Lopez, Kuhrt and King were indicted

on 21 counts including wire and mail fraud, obstruction of an SEC investigation, and money

laundering. Former Stanford Financial CFO Jim Davis has since pled guilty to several crimes,

including conspiracy to commit securities fraud and conspiracy to obstruct an SEC proceeding.

K.     Defendants’ Participation in the Stanford Ponzi Scheme

       74.     In 1998, Stanford Financial established the IRA component of the Ponzi scheme by

acquiring the Southern Trust Company, an existing Louisiana trust company based in Baton Rouge,
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Louisiana. The acquisition was spearheaded by Jay Comeaux and Alvaro Trullenque, who used

Stanford Financial’s broker/dealer and investment adviser, SGC, to purchase Southern Trust

Company’s outstanding common stock and change its name to “Stanford Trust Company

(Louisiana).” J.D. Perry was named as STC’s new President, and the company’s initial Directors

included Jay Comeaux, J.D. Perry, Jay Zager, and Jason Green. STC’s final Director was Yolanda

Suarez, who served as Stanford Financial’s General Counsel and eventual Chief of Staff. Suarez was

one of Allen Stanford’s most trusted confidants and a critical cog in Stanford’s Ponzi machine.

               a.      BSW and Reynaud Join the STC/IRA Scheme

       75.     To close its acquisition of the Southern Trust Company, Stanford Financial needed

the approval of Louisiana’s Office of Financial Institutions (“OFI”), which supervises financial

services companies operating in the state. During the OFI’s examination of the proposed transaction,

OFI Chief Examiner Sidney Seymour sent a letter dated April 13, 1998 to Stanford Financial’s

outside counsel requesting more detailed information about SGC and its affiliated companies. As

part of this request, Chief Examiner Seymour stated that OFI wanted more information about Allen

Stanford’s involvement with Guardian Bank in Montserrat (the predecessor to SIBL), which had

been the subject of a troubling Banking Circular (denominated “OCC-171”) published in 1989 by the

United States Department of the Treasury’s Office of the Comptroller of Currency. The Banking

Circular concerned Guardian Bank’s unauthorized banking activities in the United States and various

investigations by banking regulators in Texas, Florida, and California regarding Guardian Bank’s

potentially illegal, unlicensed bank offices in those states.

       76.     After reviewing these requests, Stanford Financial’s General Counsel Yolanda

Suarez concluded that SGC needed “connected” counsel in Louisiana. In early May 1998, Suarez

found her man. She hired Defendant Claude Reynaud and his Baton Rouge law firm, Defendant

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BSW, to strengthen Stanford Financial’s relationship with Louisiana’s OFI and gain approval for the

proposed acquisition.    From the very beginning, the circumstances surrounding Reynaud’s

engagement put Reynaud and BSW on notice of Allen Stanford’s suspicious past in Montserrat, and

his ongoing efforts to operate unregulated U.S. sales offices for his offshore banks.

       77.     Reynaud determined that under Louisiana law, STC would be regulated as a bank

holding company and subject to the OFI’s annual examinations just like the trust department of a

commercial bank. But Reynaud also recognized that STC was a unique entity because it would be

affiliated with SGC, which was not a bank but rather an investment advisor and broker/dealer

licensed with the SEC. In May or early June 1998, Reynaud and BSW also discovered that SGC’s

sole shareholder, Allen Stanford, was also the sole shareholder of Stanford Financial’s offshore bank

in Antigua. In other words, Reynaud and BSW learned that SIBL was affiliated with STC’s

proposed parent company, SGC, which meant that STC was also affiliated with an offshore bank. At

this point, both Reynaud and BSW knew about the incestuous business relationship between STC,

SGC, and SIBL, all operating under the direction and control of Stanford Financial in Houston,

Texas. Reynaud and BSW also learned about Stanford Financial’s business plan to promote STC as

a trustee and custodian for the IRA accounts of SGC’s investor clients (the “IRA Plan”).

       78.     On June 4, 1998, Reynaud met with Suarez at Stanford Financial’s offices in

Houston, Texas. During this meeting, Reynaud received information from Suarez about OCC-171

and various regulatory investigations concerning Guardian Bank’s unlicensed and illegal banking

offices in the United States. On June 5, 1998, Reynaud and BSW responded to the OFI’s letter

request concerning Guardian Bank and provided documentation to the OFI relating to the surrender

of Guardian Bank’s license in Montserrat and an investigation by the Texas Department of Banking

regarding Guardian Bank’s operation of an unregistered office in Texas.

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       79.     On June 9, 1998, Reynaud and BSW also delivered a letter from Antigua’s Minister

of Finance to Louisiana’s OFI. The Antiguan Minister’s glowing letter personally attested to the

“integrity” and “professional competence” of SIBL’s operations. In reality, this letter was actually

written by Stanford Financial — most likely Suarez or one of her staff — and Reynaud knew this

letter was actually written by Stanford Financial because Suarez provided him with a draft copy of

the letter when Reynaud met with Suarez on June 4, 1998, before it was purportedly signed by

Antigua’s Minister of Finance.

       80.     Apparently, the fictitious letter finally tipped the scales in Allen Stanford’s favor. On

June 23, 1998, Louisiana’s OFI conditionally approved SGC’s proposed acquisition of the Southern

Trust Company. Its conditional approval required the company to maintain minimum equity capital

levels of $500,000, and more importantly, required the company’s new Board of Directors to “insure

[sic] compliance with all applicable laws and regulations.” BSW subsequently closed the transaction

on July 13, 1998, with SGC purchasing approximately 99% of the Southern Trust Company’s

outstanding common stock. The company’s name was promptly changed to Stanford Trust Company

(Louisiana).

               b.      BSW Discovers STC’s Breaches of Fiduciary Duties

       81.     In late September 1998, STC opened its doors in Baton Rouge as Stanford

Financial’s new trust company, and Stanford Financial began to slowly implement its fraudulent IRA

Plan by promoting STC as a trustee and custodian for SGC’s IRA investor clients. STC and its

parent company, SGC, executed reciprocal referral agreements that incentivized both companies to

recklessly promote STC so SGC’s IRA clients could invest their retirement funds in SIBL CDs. For

example, in a Referral Agreement dated September 14, 1999, signed by Jay Comeaux for SGC and

J.D. Perry for STC, SGC agreed to refer clients to STC “who have an interest in the types of

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investment products that are available” through STC. In return for these referrals, STC agreed to

pay referral fees to SGC equal to 50% of the fees that STC earned from each referred client.

Additionally, a separate agreement allowed STC to receive referral fees directly from SIBL when

STC invested its clients’ IRA funds in SIBL CDs. Thus, all three of these related companies —

STC, SGC, and SIBL — would share in the fees earned when STC invested its clients’ IRA funds in

SIBL CDs. Critically, however, STC also retained the right to “determine the suitability of the client

for the purchase of any security or other investment product.” This provision gave STC the

discretion to select investments for its IRA accountholders, and with this discretion, came heightened

fiduciary obligations to those accountholders.

       82.     Stanford Financial’s IRA Plan was revealed to BSW in October 1998 when STC’s

President, J.D. Perry, asked BSW to provide a legal opinion concerning any applicable laws or

regulations that would prohibit STC from investing client funds in SIBL CDs. On October 12,

1998, BSW opined that: (i) SIBL CDs did not qualify as securities under applicable securities laws

so long as SIBL was sufficiently well capitalized and there was “virtually no risk that [SIBL’s]

insolvency [would] prevent it from repaying the holder of the certificate in full;” and (ii) because

STC was affiliated with SIBL, STC would need to obtain security for its investments in SIBL CDs

(e.g., marketable bonds or other instruments from SIBL) in order to satisfy STC’s “prudent” investor

obligations as a fiduciary to the IRA investors, unless such security was specifically exempted by

STC’s trust agreements with clients.

       83.     Despite BSW’s advice, STC never obtained the necessary security for its fictitious

investments, and because of this, STC never fulfilled its fiduciary obligations to the IRA

accountholders. Reynaud and BSW knew about these fiduciary failures. In Reynaud’s capacity as a

Director of STC and an attorney for Stanford Financial, he knew about BSW’s October 12, 1998

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opinion, and over the years he reviewed numerous financial reports and other documents showing

that STC never obtained the requisite collateral for its holdings of SIBL CDs. But BSW’s and

Reynaud’s knowledge of STC’s breaches of fiduciary duties to the IRA accountholders never

deterred BSW and Reynaud from helping Stanford Financial execute its IRA Plan. In fact, in

December 1998 — just two months after BSW first recognized STC’s duty to collateralize the SIBL

CDs — BSW was advising Stanford Financial on how to open representative “trust production

offices” for STC in Florida and Texas.

               c.      Reynaud Ignores His Own Conflicts of Interest

       84.     Reynaud suffered debilitating conflicts of interest because he wore too many hats in

his relationship with Stanford Financial. Under one hat, Reynaud was a partial owner of STC who

served as a member of STC’s Board of Directors from 2000 until Stanford Financial’s collapse in

2009. In that capacity, Reynaud had a personal interest in STC’s success, and he also owed fiduciary

duties to STC and its accountholders just like every other Director of the company. Under another

hat, Reynaud was the relationship partner for his firm’s attorney-client relationship with Stanford

Financial (and STC) from 1999 until Stanford Financial’s collapse in 2009. In that capacity,

Reynaud leveraged his membership on the Board to generate lucrative legal fees for himself and

BSW. Moreover, both Reynaud and BSW suffered conflicts of interest within this attorney-client

relationship because they knew that their ultimate “client” was not really STC, but Stanford Financial

and SGC, and their executives in Houston, Texas. And under yet another hat, Reynaud was an

attorney at BSW who recommended to his other law firm clients that they invest in SIBL CDs,

despite his knowledge of Stanford Financial’s improprieties, the breaches of fiduciary duties by

STC’s and SGC’s directors and officers, and STC’s and SGC’s own breaches of fiduciary duties to

the IRA clients. As discussed further below, Reynaud held his own interests above those of his

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clients because he recommended the SIBL CDs to his clients’ detriment while Stanford Financial

rewarded his referrals by sending additional legal work to Reynaud and BSW.

       85.     In April 1999, STC President J.D. Perry invited Reynaud to serve on STC’s Board of

Directors. Reynaud accepted his offer in a September 21, 1999 letter to Stanford Financial’s

Yolanda Suarez, in Houston, Texas. Reynaud’s service as a Director entitled him to receive

directors’ fees, and he informed Perry that under BSW policy, all such fees should be made to

Reynaud personally. In addition to receiving directors’ fees, Reynaud received approximately 2,000

shares of common stock in STC, which gave him a partial ownership interest in STC.

       86.     Reynaud served as a member of STC’s Board of Directors for nearly ten years, and he

served without interruption until STC’s receivership in February 2009. In this capacity, Reynaud

was involved in deliberating all of STC’s major decisions about its business operations, including

STC’s business model, the IRA Plan, and investments in SIBL CDs for IRA accountholders. With

full awareness of STC’s conflicts of interest in generating referral fees from investments in SIBL

CDs, Reynaud oversaw the rapid, disproportionate growth of STC’s investments in SIBL CDs

(relative to other investments) from 2003 to 2008. In short, Reynaud was acutely aware of STC’s

improprieties through his extensive service on STC’s Board of Directors, including his appointment

to STC’s Policy, Procedures and Administrative Committee (the “Policy Committee”) in 2006,

which was responsible for overseeing all of STC’s policies, procedures, and legal matters.

Specifically, through his service as a Director and member of the Policy Committee, Reynaud was

aware that STC’s primary business purpose was to enable Stanford Financial to sell as many SIBL

CDs as possible to SGC’s IRA accountholders.

       87.     All the while, Reynaud leveraged his position on STC’s Board of Directors to

generate additional legal fees for himself and BSW. In February 2000, Reynaud wrote to Stanford

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Financial’s newly appointed General Counsel, Mauricio Alvarado, to inform Alvarado about BSW’s

services and its relationship with Stanford Financial that, in Reynaud’s words, “is growing daily.” In

addition to BSW’s regulatory advice for STC, Reynaud pointed out that BSW at that time was also

representing STC’s parent company, SGC, in defending various broker/dealer matters. Reynaud

invited Alvarado to contact him whenever SGC had any broker litigation, and he described BSW’s

extensive experience in corporate, securities, banking, and bond matters. Reynaud invited Alvarado

to meet with him personally, and he closed the letter by noting his service on STC’s Board of

Directors and his wishes for a “long working relationship with you and the Stanford Financial

Group.”

               d.      STC’s Incestuous Relationship with SIBL and SGC

       88.     By 2000, Stanford Financial was ready to implement the IRA Plan. In September

2000, a staff attorney for Stanford Financial named Michael Contorno drafted a memo addressing

whether CD products issued by an offshore bank (SIBL) were acceptable, qualified investments for

IRA accounts under United States tax laws. Contorno’s memo, which he addressed to Jason Green,

Oreste Tonarelli, and Stanford Financial’s General Counsel, Mauricio Alvarado, concluded that there

were no tax-based restrictions on selling offshore CDs to IRA accounts. But Contorno raised

concerns about the related-party transactions between STC, SGC, and SIBL, and he recommended

that Stanford Financial obtain an independent legal opinion from Louisiana counsel to determine if

there were any other legal restrictions for these transactions under Louisiana law.

       89.     On September 15, 2000, Alvarado retained Louisiana law firm Jones Walker to

provide this legal opinion. On September 19, 2000, a Jones Walker partner, Ted Martin, delivered

his opinion that IRS regulations would not prevent SIBL from selling its CDs to STC’s IRA

accountholders, notwithstanding the fact that Allen Stanford was the ultimate owner of both entities.

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However, Martin questioned whether the transactions would run afoul of the Louisiana Trust

Code’s prohibition on self-dealing, which barred STC from purchasing an affiliate’s securities.

And taking a page from BSW’s earlier opinion in October 1998, Martin raised the question whether

STC’s investments in SIBL CDs would comport with its fiduciary obligations to invest the IRA

accounts in a prudent manner. “In view of the close relationship between [STC and SIBL],” Martin

reasoned, “if something goes wrong STC will have a very high burden of proving that it was not

imprudent.” In light of the self-dealing prohibitions under Louisiana law, and STC’s receipt of

referral fees from SIBL, Martin recommended that Stanford Financial disclose to each IRA

accountholder that “STC will in some cases receive payments from third parties (including [SIBL])

in connection with investments made with those third parties.”

       90.     Alvarado simply ignored the unfavorable portions of Martin’s opinion, and on

September 21, 2000, Alvarado wrote to Green and Tonarelli that he was “happy to confirm” SIBL

CDs could be utilized as qualified investments in STC’s IRA accounts, as long as clients were

advised that STC received fees directly from SIBL. Some of Stanford Financial’s executives

continued to have concerns about the fee structure, however, so Ted Martin of Jones Walker was

asked to provide another analysis addressing the propriety of STC receiving fees directly from SIBL

for its investments in SIBL CDs. On October 27, 2000, Martin issued a separate opinion letter

stating that STC’s proposed fee structure did not change his earlier opinion on September 19, 2000,

but he withdrew his initial recommendation that Stanford Financial disclose the fee arrangements

among its various companies.

       91.     Based on these two legal opinions from Jones Walker, Stanford Financial’s staff

attorney Contorno advised STC’s business group that it was legally permissible for STC to invest its

clients’ IRA accounts exclusively in SIBL CDs. In a memo dated October 30, 2000 and addressed to

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Jason Green and J.D. Perry, Contorno opined that “[u]nless the recommendation of such an

investment can be shown to be imprudent, there is no reason why an IRA need contain any other

investment [beyond SIBL CDs].” Armed with Contorno’s blessing, STC and SGC embarked on a

joint campaign to aggressively market the sale of SIBL CDs for their clients’ IRA accounts. STC

soon began purchasing SIBL CDs “for the benefit of” its IRA accountholders, and STC retained

discretionary authority to move the assets held in those IRA accounts.

               e.      The Lawyer Defendants Aid the Stanford Ponzi Scheme By Referring
                       Clients to Stanford Financial

       92.     During this same period, BSW and A&R embarked on their own campaign to enrich

themselves at their other clients’ expense. Both firms were already providing legal services to

Stanford Financial, and both firms quickly started referring their own law firm clients to Stanford

Financial. Many of these clients purchased SIBL CDs. Through these referrals, the two firms

curried favor with their powerful new client, Stanford Financial, while enjoying the lucrative legal

work that Stanford Financial sent the firms to reward them for adding to Stanford Financial’s

bottom line. Of course, the law firms’ efforts to help Stanford Financial sell more SIBL CDs did not

go unnoticed at Stanford Financial.

       93.     In the fall of 2000, Stanford Financial’s executives exchanged emails on the subject

of “Attorney Referrals.” On September 19, 2000, SGC Senior Vice President Jason Green suggested

to Michael Contorno that Stanford Financial send more legal work to both BSW and A&R because

the firms had been referring their clients to Stanford Financial. Specifically, the memo noted that

A&R had been “very good about referring business to [Stanford Financial],” and Reynaud was

“beginning to refer business back to [Stanford Financial].” As Green put it, “[w]hy wouldn’t we use

these opportunities to deepen our existing relationships, and reward those who . . . have been


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adding to our bottom line via referrals[?]” Alvarado added that Stanford Financial should also

meet with Ted Martin to see if he or his partners at Jones Walker wanted to become Stanford

Financial’s clients, although he cautioned that “it would be best to wait some time before

approaching him for this purpose, so that we have time to consolidate our client-attorney relationship

. . . .”

                 f.     STC’s Directors Discover STC’s False Statements to Louisiana’s OFI

           94.   In April 2001, a proposed change in Louisiana law threatened to derail Stanford

Financial’s IRA Plan. STC President J.D. Perry advised STC’s Board of Directors, including

Reynaud, that a Louisiana politician had submitted a bill in the state legislature to overhaul

Louisiana’s trust company laws, including a provision that minimum capital requirements be

quadrupled to $2 million. Perry believed the bill was supported by OFI’s Commissioner, John

Travis. Perry informed STC’s Board of Directors that he had retained a powerful lobbying firm that

would give STC a “good shot at quietly killing the entire bill” while “maintaining our current

relationship with the OFI.”

           95.   Later in May 2001, Perry informed STC’s Board of Directors, including Reynaud, that

Louisiana’s OFI had taken the position that Stanford Financial had already promised to capitalize

STC with $2 million back in 1998. Perry also reported that STC’s lobbyist had successfully

“stalled” the proposed legislation, but STC no longer needed to “kill” the bill because Perry had

compromised with the OFI by negotiating a lesser capitalization requirement of $1 million. More

importantly, as part of this compromise, STC and the OFI had also agreed to jointly submit an

amendment to the proposed legislation that would exempt STC from its provisions.

           96.   These developments were not news to Reynaud. He had been actively involved in

STC’s lobbying efforts to forestall the proposed legislation. Reynaud also knew there were other

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critical reasons for these lobbying efforts aside from the new capitalization requirements. The

regulatory reforms reflected in the proposed legislation meant that STC would no longer be regulated

as a limited-purpose bank. Stanford Financial’s Yolanda Suarez had informed Reynaud that STC

preferred to keep its status as a limited-purpose bank under Louisiana law because it provided more

“flexibility” for operations. In a June 11, 2001 email to STC President J.D. Perry, Reynaud

discussed his plans to get closer to OFI Commissioner John Travis so Reynaud could get Travis “in

our camp.”

       97.     But on July 26, 2001, STC’s carefully courted relationship with Commissioner Travis

soured when the OFI’s 2001 examination report for STC raised concerns about the conflicts of

interest and self-dealing problems caused by STC’s investments in SIBL CDs. Specifically, the

OFI’s report to STC’s Board of Directors (the “2001 Report”), stated that approximately $4.3 million

in trust account funds, primarily IRAs, were currently invested in SIBL CDs, and that STC, as trustee

for these accounts, had full discretionary authority over these investments. The 2001 Report noted

that STC’s own lawyers at Jones Walker believed STC would have difficulty proving its

investments in SIBL CDs were prudent because STC was affiliated with SIBL. The OFI

informed STC’s Board of Directors that it shared Jones Walker’s concerns about the prudence of

these investments, particularly given that SIBL CDs were not insured nor otherwise collateralized.

       98.     The 2001 Report also indicated that STC President J.D. Perry had informed the OFI

during its 2001 examination that “clients interested in more riskier international instruments are

introduced to these CDs because of the strong returns and strength of [SIBL].” Of course, J.D.

Perry’s statement to the OFI — now fully disclosed to Reynaud and the other members of STC’s

Board of Directors — utterly contradicted Stanford Financial’s entire marketing campaign for SIBL



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CDs as safe, low-risk investments. This marketing campaign was fully known by the Director

Defendants, who were serving in such capacity as of that time, including Reynaud.

        99.      The 2001 Report also noted the OFI’s disagreement with many of the conclusions in

Jones Walker’s opinion, and the OFI suggested that STC obtain a Private Letter Ruling from the

Internal Revenue Service (IRS) to determine: (i) whether STC was a fiduciary; (ii) whether SIBL was

an affiliate of STC; and (iii) whether SIBL CDs were the same as CDs issued by banks in the United

States. The OFI’s report to the Board of Directors closed by stating that “Management and the

Board should reevaluate this program and ensure that the risk being assumed by recommending and

facilitating the purchase of these CDs is justified by the potential return to the accountholders.” 3

Notably, at the same time that Louisiana’s OFI issued this report, OFI Commissioner John Travis

also sent a letter to STC’s Board of Directors and advised them of his decision to increase STC’s

minimum capital requirement to $2 million.

        100.     The OFI’s 2001 Report was a potential game changer for Stanford Financial’s IRA

Plan. Reynaud urged Stanford Financial’s Suarez to give his “solid political connections” time to

influence OFI Commissioner John Travis — and he noted BSW’s access to the Governor of

Louisiana — but Suarez rejected his pleas and promptly flew down to Baton Rouge with Allen

Stanford himself to meet with Travis on July 30, 2001. Allen Stanford’s desperation was evident in

the parties’ discussions that day, as Stanford Financial not only agreed to increase STC’s

capitalization to $2 million, but Allen Stanford personally promised Commissioner Travis that STC

would maintain $5 million in capital as long as the OFI allowed STC to stay in business. At the



3
 All OFI examination reports provide that each member of STC’s Board of Directors has a duty, in keeping
with his or her responsibilities to both depositors and shareholders, to read the examination reports in detail.


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time, of course, Stanford’s $5 million pledge was more than sufficient to secure the approximately

$4.3 million in SIBL CDs held by STC in its clients’ IRA accounts.

        101.      On August 6, 2001, Stanford Financial’s General Counsel, Mauricio Alvarado, wrote

to Ted Martin at Jones Walker and asked Martin to respond to the issues raised in the OFI’s 2001

Report. According to Alvarado, Stanford Financial needed Martin’s response because “STC did

indeed rely on your analysis and offered SIBL CDs to STC’s IRA clients.” Alvarado closed the letter

by stating that an IRS Letter Ruling was not desirable.

        102.      On August 13, 2001, Martin responded to Alvarado’s letter by opining, in effect, that

STC’s affiliated relationship with SIBL was irrelevant. Alvarado promptly forwarded Martin’s

opinion to J.D. Perry, Jason Green, and Stanford Financial’s Chief of Staff, Yolanda Suarez, and

recommended that Martin respond directly to the OFI because “Jones Walker is the largest law firm

in Louisiana.” Alvarado shared this decision with Reynaud. On August 15, 2001, Suarez directed

Perry to instruct Jones Walker to handle the OFI so it would not include the CD program in its

official audit.

        103.      On August 16, 2001, Martin sent a letter to the OFI and provided his legal opinion

that there was nothing wrong with STC acquiring SIBL CDs for its clients’ IRA accounts — despite

the fact that STC was a fiduciary for these IRA accounts — as long as STC’s clients were informed

about the relationship between STC and SIBL. Martin followed up with a second letter dated

September 26, 2001, in which he informed the OFI of his opinion that it was proper for SIBL to pay

referral fees directly to STC for STC’s investments in SIBL CDs because STC was not a fiduciary.

This second opinion, which completely contradicted Martin’s earlier opinion that STC, as a trustee,

was a fiduciary, was apparently based on the assumption that STC did not exercise any discretion

over the investments in its clients’ IRA accounts.

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       104.    Reynaud reviewed all of Jones Walker’s opinions at the time they were prepared and

issued to Louisiana’s OFI, and Reynaud became concerned during STC’s ongoing debate with the

OFI. Ironically, however, Reynaud was not concerned about the propriety of Stanford Financial’s

IRA Plan, which had been squarely criticized by the OFI, nor was he concerned about the role of

STC’s Board of Directors in helping STC execute that plan. Rather, Reynaud was concerned about

the lucrative legal fees that Stanford Financial was paying to Jones Walker instead of Reynaud and

his firm, BSW. Reynaud wanted BSW to handle all of STC’s regulatory needs in Louisiana,

including the company’s ongoing feud with the OFI, so Reynaud and his firm could reap the valuable

fees produced by this work. On August 17, 2001, Reynaud sent a letter to Suarez in Houston in

which he voiced his concern about the “degree of disconnection” between himself and Stanford

Financial about BSW’s ability to offer a full array of legal services. Reynaud’s letter then proceeded

to compare his law firm’s ability to that of Jones Walker. “On the political level,” Reynaud boasted,

“we have as much or more political influence or contacts than any firm in the state.” Reynaud

closed his letter by offering to visit Mauricio Alvarado and Suarez in Houston, Texas in order to

“firm up relationships between our firm, Stanford Trust and Stanford Group.”

       105.    Reynaud’s pleas to Suarez and Alvarado highlight an important point: BSW’s true

client was not really STC, but Stanford Financial in Houston, Texas. Throughout Reynaud’s and his

firm’s entire relationship with STC, BSW knew that its ultimate client was Houston-based Stanford

Financial and SGC, and the firm, including Reynaud, directed its activities, counsel, and opinions to

Stanford Financial’s and SGC’s headquarters in Houston, Texas. Furthermore, Reynaud and BSW

knew that SGC directed and controlled STC’s operations from its offices in Houston, Texas. For

example, in early 1999, STC advised Louisiana’s OFI that all of STC’s accounting functions would



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be handled by SGC in Houston, Texas. In a letter response dated May 14, 1999, the OFI informed

STC that it did not object to SGC handling all of STC’s accounting functions in Houston, Texas.

       106.    Additionally, both Reynaud and BSW knew that they suffered a conflict of interest by

simultaneously representing Stanford Financial, SGC and STC. For example, as the broker/dealer

and investment adviser for STC’s IRA clients, SGC was incentivized to aggressively sell SIBL’s

fictitious CDs to those clients. But STC had a fiduciary obligation to invest its clients’ IRA accounts

in a safe, secure, and “prudent” manner. And if Stanford Financial, SGC, STC, and SIBL had not

been related parties, and if STC had not been beholden to the same ultimate owner for all four

entities, then STC surely would have scrutinized SGC’s recommendations and SIBL’s CDs much

closer. In truth, STC did nothing to scrutinize SGC’s investment recommendations or the SIBL CDs

themselves, and Reynaud and his law firm placed themselves squarely in the middle of these

conflicts of interest by representing Stanford Financial, SGC, and STC simultaneously. This is

particularly true given that STC was dominated and controlled by both Stanford Financial and SGC,

whose overarching goal was to sell as many SIBL CDs as possible to IRA clients.

       107.    The same was true of A&R: its ultimate client was not STC, but Stanford Financial

and SGC in Houston, Texas. Moreover, by representing all three affiliates simultaneously, A&R

placed itself squarely in the middle of the conflicts of interest suffered by Stanford Financial, SGC,

and STC. A&R opinion letters demonstrate that A&R’s clients included both Stanford Financial and

STC, and A&R knew that SGC directed and controlled STC’s operations from its offices in Houston,

Texas. Because of this knowledge, A&R and its partners directed their activities, counsel, and

opinions to Stanford Financial’s and SGC’s headquarters in Houston, Texas.

       108.    STC’s Board of Directors held a meeting on August 28, 2001. Suarez personally

attended this meeting, as well as two representatives from Louisiana’s OFI, Sidney Seymour and

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Deidre Moore, who discussed the OFI’s findings in its 2001 Report. Reynaud attended the meeting

by telephone. When the Board’s discussion turned to SIBL CDs, Ms. Moore indicated that in

addition to the other issues raised by the 2001 Report, she was concerned about Stanford Financial’s

promotion of “excess FDIC” insurance in its marketing program for SIBL CDs. In her opinion, this

promotion could mislead STC’s clients into thinking SIBL CDs were insured by the FDIC.

       109.    After this discussion, the OFI representatives left the meeting, and Suarez addressed

STC’s Board of Directors on behalf of Allen Stanford. Suarez told the Board that Stanford was

“displeased and dismayed” by this latest turn of events, and Stanford forbid any further

communication with the OFI unless he was “in the loop.” At this point, Reynaud defended STC’s

strategy but expressed his desire to be more informed about Stanford Financial as a whole so

the Board could make informed decisions. Suarez invited Reynaud to join her in Houston, Texas

to tour Stanford Financial’s headquarters and discuss the rest of Stanford Financial in more detail.

Suarez also requested that STC’s Board of Directors hold more of its meetings in Houston, Texas so

she could attend them in person. At her request, STC’s Board of Directors did hold more of its

meetings in Houston, Texas, and Reynaud (and the other Directors) regularly travelled to Houston

thereafter to attend those Board meetings, where Reynaud also met with Suarez and Alvarado to

discuss BSW’s legal services for Stanford Financial.

               g.      A&R Issues a False Opinion Letter to Louisiana’s OFI

       110.    On October 8, 2001, STC’s Board of Directors received a letter from Louisiana’s OFI

enclosing the 2001 Report. The letter once again highlighted STC’s potential self-dealing and

conflicts of interest, and informed the Board that the OFI believed STC was acting as a

fiduciary for its IRA accountholders, despite Ted Martin’s opinion to the contrary. The OFI

further directed the Board to its comments in the 2001 Report that questioned the prudence of

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STC’s investments in SIBL CDs. Finally, the OFI discussed its concerns about the Board’s own

failure to satisfy its fiduciary obligations.

               “[W]e are concerned about the apparent lack of oversight on the part of
               [STC’s] Board of Directors as demonstrated by the infrequency of board
               meetings, irregular attendance, brevity of board minutes, and failure to
               review and approve all policies on an annual basis. Directors have a
               fiduciary obligation under [Louisiana] law to discharge their duties and
               responsibilities in an appropriate manner. Directors are expected to be
               actively involved in the company’s affairs and are directly responsible for
               establishing policies under which it will operate. Active participation at
               regular board meetings helps to ensure that directors are fully informed
               and adequately prepared to meet their obligations.”

       111.    Stanford Financial recognized the threat posed by the 2001 Report and the OFI’s

October 8, 2001 letter. Stanford Financial tried to shift momentum by retaining more compliant

legal counsel for its negotiations with the OFI. Mauricio Alvarado, Stanford Financial’s General

Counsel, rebuffed Reynaud’s pleas for additional work and turned to Louisiana law firm A&R. On

October 26, 2001, Alvarado sent a letter to Defendant Schmidt, a partner in A&R’s Baton Rouge

office, and outlined the scope of Stanford Financial’s request:

               “The broad issue is whether STC, as trustee of an IRA, is permitted under all
               applicable state and federal law to place client IRA funds into CDs issued by
               [SIBL]. If so, can STC earn fees as [a] result of such placement?”

       112.    Over the next several weeks, Schmidt drafted and redrafted his legal opinion, and

both his legal conclusions and the factual assumptions underlying those conclusions continued to

evolve until his letter response crystallized in late November 2001. In the early drafts of Schmidt’s

opinion, he struggled with the legalities of Stanford Financial’s business structure, including whether

or not STC and SGC would be considered joint fiduciaries to the IRA accounts, thereby making the

CD investments “prohibited transactions.” But Stanford Financial’s employees, including Alvarado,

J.D. Perry, and Jason Green, carefully revised Schmidt’s preliminary memos by deleting large

portions of Schmidt’s early drafts, and in the final draft of Schmidt’s opinion, his early doubts had
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mysteriously vanished. The final version of Schmidt’s letter did not find any problems with STC’s

business structure, and Schmidt concluded that STC could receive referral fees if they were fully

disclosed because STC was not a fiduciary. On November 29, 2001, STC President J.D. Perry

forwarded A&R’s legal opinion to Reynaud and stated that STC’s Board of Directors needed to

“bless” STC’s response to the OFI. Reynaud promptly approved the legal positions in STC’s

response, and A&R’s legal opinion was appended to STC’s official response letter to the OFI dated

December 12, 2001.

       113.    By allowing Stanford Financial to effectively rewrite his opinion, Defendant Schmidt

issued a false opinion letter that essentially approved of STC’s incestuous and deeply conflicted

relationship with SIBL and SGC. In doing so, Defendant Schmidt consciously ignored facts known

to him, including the facts that: (i) SGC, as an investment adviser, would be advising its clients to

invest up to 100% of their IRA accounts in uninsured CDs held in custody at SGC’s subsidiary, STC;

(ii) the uninsured CDs were issued by an offshore bank that was affiliated with both SGC and STC;

and (iii) the offshore bank paid referral fees directly to STC and SGC for investing their clients’ IRA

funds in those uninsured CDs. A&R’s false legal opinion provided STC with the ammunition it

needed to hold Louisiana’s OFI at bay, and as a direct result of that false legal opinion, A&R

empowered Stanford Financial to execute a fraudulent scheme that would eventually cost innocent

IRA accountholders at least $300 million. Even worse, the funds that STC’s directors and officers

improperly diverted and funneled into the Stanford Financial group of companies assisted Allen

Stanford in misappropriating at least $1.8 billion from Stanford Financial. If Defendant Schmidt had

submitted a truthful opinion based on the facts known to him, and concluded that STC could not

invest its clients’ IRA funds in SIBL CDs while receiving fees for those investments, then Stanford



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Financial’s IRA Plan would have been dead in the water with the OFI and the STC portion of the

Stanford Ponzi scheme would have quickly unraveled.

       114.    On February 26, 2002, OFI Commissioner John Travis sent a letter to STC’s Board of

Directors acknowledging the OFI’s receipt of STC’s December 12, 2001 response letter, which

included Defendant Schmidt’s false opinion letter. The OFI noted STC’s decision that an IRS ruling

on the SIBL CDs was unnecessary, and while the OFI “continued to have concerns” about STC’s

investments in SIBL CDs, the OFI accepted this decision of STC’s Board of Directors. In essence,

Commissioner Travis informed STC that the OFI was closing its 2001 examination and would no

longer pursue the issues raised in its 2001 Report, including the OFI’s concerns about STC’s

potential self-dealing, conflicts of interest, and fiduciary obligations. The “independent” legal advice

provided in Defendant Schmidt’s false opinion letter, which summarily dismissed the OFI’s

concerns, was surely an important factor in the OFI’s decision to stand down and allow Stanford

Financial’s IRA Plan to proceed. Commissioner Travis reiterated, however, that STC’s decision

not to seek an IRS ruling “does not relieve the Board of its fiduciary responsibility to avoid self-

dealing and act prudently in the best interest of the accountholders.” Importantly, Travis also

reminded STC’s Board of Directors that STC could not receive a fee for investing IRA funds in

SIBL CDs.

               h.      Whitney Bank Terminates its Banking Relationship with STC

       115.    Stanford Financial and its team of complicit professionals had successfully dodged

the bullet. In fact, their efforts to pacify Louisiana’s OFI were so successful that the agency seemed

to completely lose interest in STC. The OFI’s annual examinations of STC from 2002 through 2006

resulted in few, if any, reported issues. Indeed, despite the glaring issues raised in its 2001 Report,

the OFI did not even mention STC’s investments in SIBL CDs for years.

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       116.    But other entities began to sound the alarm. On January 7, 2004, Whitney Bank

informed J.D. Perry by letter that its banking relationship with STC had been terminated. This

development was a potentially significant blow to STC’s IRA Plan because STC used Whitney

Bank’s accounts to “purchase” SIBL CDs. According to Whitney Bank’s termination letter, certain

affiliates of STC — most likely SGC and SIBL — had approached Whitney Bank to establish a

banking relationship. As a result of its due diligence, Whitney Bank had discovered the size and

scope of Stanford Financial and its affiliated web of companies, including SIBL, which Whitney

Bank specifically named. Armed with this knowledge, Whitney Bank then reviewed its relationship

with STC and noted its relationship with Stanford Financial, and based upon its review of fund

flows through STC’s accounts at the bank, Whitney Bank decided to terminate their banking

relationship. Under the terms of Whitney Bank’s letter, STC had 30 days to move its banking

elsewhere, and the bank warned STC that it reserved the right to close any or all of STC’s accounts

immediately — without any further notice to STC — if “other information” came to the bank’s

attention. Unfortunately for STC and the innocent IRA accountholders, Stanford Financial managed

to find a new banking partner and the STC portion of the Stanford Ponzi scheme continued its

march. Upon information and belief, STC’s Director Defendants knew that Whitney Bank

terminated its banking relationship with STC in January 2004.

               i.     Stanford Financial Executes the IRA Plan to Perfection

       117.    Unfettered by any significant regulatory oversight from 2002 through 2007, SGC’s

brokers and investment advisers convinced hundreds of clients to transfer their IRA accounts to STC

and recommended that they invest those funds in SIBL CDs. In many cases, STC’s clients relied on

the advice of their SGC investment advisers and invested 100% of their IRA accounts — their entire

life’s savings — in SIBL CDs. These aggressive and patently imprudent business practices led to the

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exponential growth of STC’s investments in SIBL CDs over the next several years. For example, the

OFI’s 2003 examination report noted that STC held almost $35 million in SIBL CDs for its IRA

accountholders. In the 2004 examination report, the OFI noted that STC’s holdings of SIBL CDs

had grown to over $52 million. And by 2006, STC’s holdings of SIBL CDS had more than tripled to

$166 million. During this period, the Director Defendants supervised and monitored STC’s

operations, and authorized STC to invest its clients’ IRA accounts in SIBL CDs so STC and SGC

could earn lucrative referral fees from these transactions.

       118.    For example, from 2003 through 2006, Defendants Reynaud, Frazer and Haymon all

served continuously on STC’s Board of Directors, supervising and monitoring STC’s operations,

such as reviewing financial reports, capital investments, governing documents, and OFI examination

reports. During this period, the Director Defendants allowed STC’s investments in SIBL CDs to

increase nearly five-fold, from $35 million to $166 million, despite their knowledge that STC’s

affiliation with SGC and SIBL, and STC’s perverse incentives to purchase SIBL CDs, conflicted

with STC’s own fiduciary duties.

               j.      Stanford Rewards the Lawyer Defendants for Referring Clients

       119.    Reynaud personally benefitted from STC’s growing investments in SIBL CDs. First,

as a partial owner of STC, his ownership interest benefitted from the substantial referral fees that

STC earned when making these investments. Second, as an attorney for Stanford Financial, Reynaud

personally benefitted because STC shared its referral fees with Reynaud in the form of legal fees.

Reynaud had finally convinced Stanford Financial to retain BSW so his law firm could represent

STC in its legal and regulatory matters, including matters concerning the SIBL CDs. For example, in

May 2004, STC President J.D. Perry asked Reynaud and BSW to investigate whether STC could

establish a “common trust fund” as another mechanism to invest client funds in SIBL CDs. On June

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8, 2004, J.D. Perry met with BSW and provided the firm with information regarding SIBL, its CDs,

and the proposed fund. Attorney notes from that meeting, likely written by BSW partner Van

Mayhall, describe STC’s proposed fund as an “upside down mutual fund.” Despite Mayhall’s clear

description of the common trust fund as a “mutual fund,” however, BSW opined in a June 17, 2004

memo that STC’s fund should be exempt from regulation under the Investment Company Act of

1940 because STC was regulated as a bank. Furthermore, BSW concluded, STC should not have

any legal problems when selling units in its fund to accredited investors.

       120.    A&R also benefitted from STC’s swelling investments in SIBL CDs by providing

legal advice to Stanford Financial, including STC and SGC, and assisting Stanford Financial’s

efforts to access other retirement plans to fuel the expanding Ponzi scheme. For example, in

approximately February 2007, Stanford Financial retained A&R to determine whether STC could

act as custodian for ERISA plans and whether such plans could purchase SIBL CDs. As part of its

analysis, A&R’s lawyers, including Defendants Schmidt and Austin, reviewed offering materials and

disclosures for the SIBL CDs. Through this review, A&R was aware that SIBL CDs were not

insured, had not been registered as securities in the United States, and were not otherwise subject to

regulation in the United States. A&R was also aware that SIBL’s offering materials did not disclose

the fact that STC received referral fees from SIBL. Incredibly, however, A&R furnished its opinion

to Stanford Financial on February 19, 2007 that STC, as a fiduciary to an ERISA plan, could in fact

purchase and hold SIBL CDs for that plan.

               k.      J.D. Perry Resigns in a Scandal and Louis Fournet Joins the Stanford
                       Ponzi Scheme

       121.    In September 2006, J.D. Perry resigned as President of STC amidst allegations of

theft and embezzlement. On September 7, 2006, Reynaud notified Louisiana’s OFI that Perry had


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resigned, and that Zack Parrish, an officer of SGC, would serve as STC’s interim President. On

October 12, 2006, STC’s Board of Directors held a meeting to discuss STC’s “overall [t]rust

strategy” and the company’s plan for replacing former President J.D. Perry. The Board also

discussed the formation of three new committees, the Policy Committee, the Investment Policy

Committee, and the Financial/Audit Committee. Over the next two years, STC’s Board of Directors

discovered even more information about STC’s suspicious operations, and STC’s burgeoning

investments in SIBL CDs, through the work of these new committees. In particular, Reynaud,

Haymon, and Frazer, who each chaired one of these new committees, gained more knowledge about

STC’s illicit operations.

       122.    Later in October 2006, interim STC President Parrish asked Reynaud to serve as

Chairman for STC’s Policy Committee. In a letter to Parrish dated November 3, 2006, Reynaud

accepted the position but expressed his broader concerns about his responsibility to Louisiana’s OFI

relative to STC and its corporate actions. Reynaud acknowledged that ultimate authority for

STC’s actions rested with Allen Stanford, as STC was a wholly owned subsidiary of Stanford

Financial, but Reynaud insisted that communication and consultation with STC’s other

Directors was important “given the unique hybrid nature of this relationship.”

       123.    The three new committees of STC’s Board of Directors met on January 18, 2007.

During the Investment Policy Committee meeting, members Haymon, Green, and Parrish discussed

STC’s client allocations, investment objectives, capital account holdings, and asset classes. The

committee suggested that STC’s investment allocations and objectives be modified as target

allocations. Later that day, the Board of Directors held a meeting and the chairman of each

committee reported to the Board. In attendance were Directors Frazer, Haymon, Reynaud, Bogar,

Comeaux, Green, and Parrish. Reynaud, as Chairman of the Policy Committee, reported that his

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committee would review STC’s policies and make recommendations to the Board. As part of this

discussion, STC’s Joe Klingen discussed STC’s fee schedules with the Board. Haymon, as

Chairman of the Investment Policy Committee, discussed STC’s investment policy report. And

Frazer, as Chairman of the Financial/Audit Committee, reported that no major adjustments to STC’s

financial statements were anticipated, and that his committee had approved STC’s budget. Finally,

interim President Parrish reported on STC’s operations, including missing documentation in STC’s

client files, and STC’s progress towards identifying a new President to replace J.D. Perry.

       124.    In April 2007, Stanford Financial found its new man and tapped Louis Fournet to

serve as STC’s new President. Fournet joined STC from Hancock Bank — the successor to STC’s

prior banking relationship with Whitney Bank — where Fournet had been Hancock Bank’s Senior

Vice President and Manager of Trust Administration. STC’s Board of Directors met on April 12,

2007 and approved of Fournet’s appointment as President. In attendance were Frazer, Reynaud,

Bogar, Comeaux, and Parrish.       Haymon did not attend.       Frazer reported on behalf of the

Financial/Audit Committee, noting that his committee “did not have a lot of time to review” STC’s

financial statements for the first quarter of 2007. Reynaud reported on behalf of STC’s Policy

Committee, and Parrish reported on behalf of STC’s Investment Policy Committee, noting that an

investment policy had been developed to address STC’s investment objectives for its capital account.



       125.    Reynaud’s Policy Committee met again on July 3, 2007. In attendance were members

Reynaud and Comeaux, as well as STC President Fournet. The Policy Committee noted that SIBL

CD investments had generated $16.3 million in March 2007 alone, and that April 2007 had also

generated “a large influx of [SIBL] CDs.” President Fournet stated his belief that “the Board would

be interested in where production comes from.” He then reported that STC was currently developing

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a report that will show STC’s “leading producers in [SIBL] CDs” for its IRA or trust accounts, by

FA and office. Comeaux then reported that Green had already developed a progress report “for the

entire network of [Stanford Financial] companies that cross sell [SIBL CDs].” Finally, Fournet

discussed additional new business from SIBL CDs, including “33 new CDs booked just this week,”

and reported that STC was still receiving incomplete documentation for its CD investments.

        126.    On July 13, 2007, STC’s Investment Policy Committee held a meeting to discuss

STC’s capital account investment policy statement and capital account proposed asset allocation. In

attendance were Chairman Haymon and STC President Fournet. Green was absent and Parrish voted

on the committee’s motions by email. The committee was given an investment presentation that

included STC’s current investment holdings and proposed investment strategies, as well as STC’s

June 30, 2007 capital account asset listings. Finally, the committee discussed the need to appoint

Fournet as a member during its next meeting.

        127.    It did not take long for Fournet to appreciate Stanford Financial’s aggressive IRA Plan

and STC’s role in executing that plan. Similarly, however, it did not take long for Fournet to

appreciate the breadth of STC’s fiduciary obligations to its IRA clients, and the significant legal risks

posed by Stanford Financial’s outright contempt for those fiduciary obligations. On July 18, 2007,

only three months after Fournet’s appointment as STC’s new President, STC’s Senior Vice President

Joe Klingen sent an email to Defendant Schmidt and asked him how STC could achieve its goal of

acting as trustee of an IRA “without taking on the ‘fiduciary’ liability.”

        128.    The next day, July 19, 2007, STC’s Board of Directors held a meeting and the

chairman of each committee reported to the Board. Among other items, Financial/Audit Committee

Chairman Frazer reported on a “Revenue Stream Memo” for STC, and Policy Committee Chairman

Reynaud reported on STC’s legal issues. Finally, Investment Policy Committee Chairman Haymon

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reported on STC’s capital account investment policy statement, capital account summary, capital

account asset allocation, and client allocations and investment objectives.

       129.    STC’s Board of Directors met again on September 20, 2007. In attendance were

Haymon, Parrish, Reynaud, and Comeaux. Frazer, Green, and Bogar did not attend. The Board’s

first order of business concerned STC’s financial statements. President Fournet summarized the

financial statements by stating that “STC revenue is driven by [SIBL CD] accounts.” Reynaud then

reported to the Board that he and Fournet had recently met with Louisiana’s OFI and the OFI “is

fine” with STC’s reserves, but the OFI is concerned about STC’s capital account because the OFI

considers this account “as insurance on all the [SIBL CD] accounts.” Fournet then reported on

STC’s strategic plan, including its recently opened offices in other states. Finally, Reynaud updated

the Board on behalf of the Policy Committee, and Haymon, reporting for the Investment Policy

Committee, noted that STC’s investment manager was expected to achieve STC’s target allocation

by the end of the month.

               l.      The Beginning of the End

       130.    The tables finally turned on STC in September 2007 when Louisiana’s OFI began its

2007 examination. At the time, STC was purportedly holding $263 million in IRA accounts, and

the vast majority of the funds in these accounts (72%) were invested in SIBL CDs. During the

examination, the OFI discovered that STC’s IRA account files did not contain any financial

information or documentation supporting the appropriateness of STC’s investments in SIBL

CDs, a violation of STC’s own internal policies. The OFI was also alarmed when it discovered

that STC was still receiving referral fees for its investments in SIBL CDs, and that such fees

accounted for the vast majority of STC’s income. The Director Defendants knew that STC was

still receiving referral fees for its investments in SIBL CDs. In fact, in addition to the various

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financial reports that STC’s Board of Directors reviewed and discussed each year, STC’s Controller

Kerry Jackson had specifically informed Frazer on July 4, 2007 that STC’s greatest source of

revenue was the referral fees that SGC paid to STC for its investments in SIBL CDs. Jackson

described these fees as a “related party revenue stream wherein STC uses brokers from [SGC] to sell

[SIBL CDs].” Additionally, in STC’s Board of Directors meeting on September 20, 2007, Fournet

summarized STC’s financial statements by stating that “STC revenue is driven by [SIBL CD]

accounts.”

       131.    The OFI was clearly troubled by its preliminary findings and the examiners expressed

their concerns to STC. Stanford Financial promptly turned to its old friends at A&R and requested a

new legal opinion on the propriety of STC’s investments in SIBL CDs. Defendant Schmidt issued

his new legal opinion on October 8, 2007, and with full knowledge that Stanford Financial would be

using his opinion to placate the OFI, Schmidt opined that: (i) STC was not prohibited from

purchasing SIBL CDs for its clients’ IRA accounts; and (ii) neither SGC nor its FAs were prohibited

from receiving fees in these transactions. Notably, Schmidt’s new opinion did not even mention

nor address the fact that STC received fees for its investments in SIBL CDs. STC forwarded

Schmidt’s new legal opinion to Louisiana’s OFI and adopted Schmidt’s position that STC’s

substantial investments in SIBL CDs were permissible. This time, however, the OFI would not be

swayed by Defendant Schmidt’s legal conclusions.

       132.    STC’s Financial/Audit Committee met again on November 19, 2007 to discuss

STC’s October 2007 financial statements. In attendance were Frazer and Fournet. Bogar was

absent. Fournet summarized STC’s October operating results, noting that “[SIBL CD] revenue is the

main component.”



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       133.    STC’s Board of Directors met again on December 4, 2007. In attendance were

Directors Haymon, Parrish, Reynaud, Comeaux, Fournet, Green, Bogar, and Frazer. Reporting for

the Board’s Financial/Audit Committee, Frazer reported on STC’s financial results in September and

October 2007. Reynaud, reporting for the Policy Committee, noted that many new accounts were

generating fees for STC. At the request of Louisiana’s OFI, the Policy Committee also reviewed

STC’s intercompany agreement with SGC, which governed SGC’s provision of administrative

services for STC. Haymon then reported to the Board on behalf of the Investment Policy

Committee. Following Haymon’s presentation, the Board discussed the OFI’s ongoing examination

of STC, and several OFI representatives joined the meeting, including Sidney Seymour and Didrea

Moore. The OFI discussed various issues raised during its examination, including STC’s client

accounts and the need for STC to resolve any exceptions noted in those accounts.

       134.    The OFI’s 2007 examination of STC continued into the following year, and after

additional meetings with STC’s Board of Directors, the OFI sent a letter request to STC President

Louis Fournet on January 30, 2008. The OFI’s letter requested information from STC to “verify the

validity” of SIBL CDs, including a summary of STC’s analyses and efforts to validate the CDs and

SIBL’s portfolio of assets. The letter also requested STC’s authorization to contact SIBL’s auditor in

Antigua, Hewlett & Co., to confirm SIBL’s asset portfolio.

       135.    Instead of getting a response directly from STC, however, the OFI received a response

from SGC’s Director of Compliance, Bernie Young, on February 14, 2008. Young claimed that

Antiguan privacy laws prohibited SGC from producing any documents to satisfy the OFI’s request to

examine SIBL’s portfolio. Young also informed the OFI that SGC could not facilitate its requested

contact with SIBL’s auditor because SGC “does not have a contractual relationship” with Hewlett &



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Co. Instead, Young offered to “facilitate an introduction” with SIBL’s management. In short,

STC could offer nothing to the OFI to validate its investments of IRA funds in SIBL CDs.

       136.    In that same month, the Financial/Audit Committee of STC’s Board of Directors met

to discuss STC’s December 2007 financial results. In attendance were Bogar and Fournet. Frazer

did not attend. Fournet reviewed STC’s results and noted that “affiliated company product revenue

[i.e., referral fees from SIBL CDs] was 40% greater than the previous year.” (emphasis added). On

February 19, 2008, STC’s Board of Directors also held a meeting to discuss STC’s recent financial

results and receive reports from its respective committees. In attendance were Haymon, Parrish,

Comeaux, Fournet, Green, and Frazer. Reynaud and Bogar did not attend. Frazier reported to the

Board on behalf of the Financial/Audit Committee. Fournet discussed STC’s new accounts on

behalf of the Policy Committee, and Investment Committee Chairman Haymon reported on STC’s

investment performance.

       137.    On February 22, 2008, Reynaud sent a letter on BSW letterhead to STC President

Louis Fournet and fellow STC Director Zack Parrish. In that letter, in which Reynaud described

Bernie Young’s letter as “our initial response” to the OFI’s inquiries, Reynaud reported on two tasks

that had been assigned to him by STC’s Board of Directors: (i) gather intelligence on OFI’s current

Commissioner, John Ducrest, who was in charge of the OFI’s examination; and (ii) determine the

best strategy to “approach” Ducrest. Reynaud reported that Ducrest was a “lifer,” in that he was a

career regulator, and Ducrest had a reputation of being very professional and no-nonsense. Then, in

a surprising moment of candor, Reynaud stated that

               “[a]ll of this would likely be good news if we were wanting good
               government professional appointees running our State, and I do for
               reasons obviously independent of this situation. It is, however, not
               necessarily good news from a political standpoint, because, unlike
               past commissioners, we have no political history with him. In

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                addition, Mr. Ducrest’s history as a fraud examiner probably makes
                him look at the offshore business of Stanford International Bank with
                an initial bit of curiosity, if not concern.”

        138.    Reynaud then expressed his concerns about Bernie Young’s misleading and

obstructive responses to the OFI.

                “I think we need to consider supplementing our letter of February 14,
                2008. I am concerned about its overall tone, and I am very concerned
                about answers to Question Nos. 4, 5, and 8. . . . In particular, our
                response to Question No. 4 is basically to say we are not going to give
                you any information, because it is ‘protected by Antiguan privacy
                laws.’ If you are a regulator, what does that tell you? . . . The
                response to Question No. 5 is similar. We are telling [the] OFI that
                we do not have the authority to release this kind of information. Once
                again, we should at least look like we are willing to cooperate. If we
                have nothing to hide, and I believe we do not since I have been to the
                bank in Antigua, let’s help [the] OFI do its job. . . . Lastly, I still am
                of the opinion that this is a significant enough issue that the Board
                needs to be told and relatively soon.” 4

    (emphasis added).

        139.    On February 22, 2008, STC’s Board of Directors met to discuss the recent questions

raised by Louisiana’s OFI. In attendance were Frazer, Haymon, Reynaud, Green, and Parrish.

Comeaux and Bogar did not attend. Fournet reported that the OFI had raised additional questions in

its examination and that Bernie Young, SGC’s Chief Compliance Officer, had responded to these

inquiries on behalf of STC. Fournet noted that the OFI had not yet responded to Bernie Young’s

letter. Reynaud reported to the Board that he had recently discussed the OFI’s examination with

Sidney Seymour, who expressed concerns about STC’s investments in SIBL CDs. Reynaud also




4
   The OFI’s Question No. 4 requested a copy of SIBL’s latest examination by the FSRC. Question No. 5
requested authority to contact SIBL’s auditor, Hewlett & Co., to obtain information regarding the auditor’s
confirmation process for SIBL’s investments and CDs, peer reports, deposit confirmation process, and CD
review workpapers. Question No. 8 requested a copy of the SIBL CD brochure that STC provided to its IRA
clients.
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reported that the OFI was “holding up” STC’s Florida office because of these concerns. The Board

discussed a possible meeting between the OFI and STC to discuss this situation further.

       140.    What happened next is nothing short of shocking. In order to provide some “cover”

for SIBL with the OFI, STC and SGC decided that SIBL’s Antiguan regulator should send the OFI a

letter attesting to SIBL’s legitimacy. On April 8, 2008, a staff attorney at Stanford Financial named

Rebecca Hamric prepared a letter that was purportedly from Antigua’s FSRC to Louisiana’s OFI.

Hamric drafted the letter for Leroy King’s signature, the FSRC Director and “blood brother” to Allen

Stanford, who was to print the letter on FSRC letterhead, sign it, and send it to the OFI from

Antigua. Stanford Financial lawyer Hamric drafted all the language in the fake letter, including the

statement that “we found the bank to be in compliance with all regulatory guidelines and all

applicable rules and regulations.” Hamric even inserted a space at the top of the page to indicate

that the letter needed to be printed on Leroy King’s letterhead. Hamric then emailed the draft letter

to SIBL’s President, Juan Rodriguez-Tolentino, who passed it along to King.

       141.    The exact same letter that Hamric prepared for King’s signature was then duly signed

by King the very next day, April 9, 2008, and faxed back to SGC by Rodriguez-Tolentino. SGC then

promptly forwarded the fraudulent letter to Louisiana’s OFI that same day. Hamric did the same

thing for SIBL’s auditor, Hewlett & Co. She drafted a fake letter that stated exactly what she and

Stanford Financial’s other employees wanted it to state, and the auditor was supposed to sign and

deliver the letter to the OFI. Hewlett & Co. signed the fraudulent letter that Hamric prepared and

sent it to the OFI on April 10, 2008.

       142.    To crown the deception of these fake letters, Stanford Financial also answered

Reynaud’s pleas to “look like [STC is] willing to cooperate” by supplementing Bernie Young’s

initial response to the OFI. On April 11, 2008, Stanford Financial’s Director of Global Compliance,

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Lena Stinson, sent a letter to Sidney Seymour thanking him for their meeting in the prior week and

providing additional information responsive to the OFI’s requests. The enclosed materials included:

(i) reports from other Stanford Financial companies, including SIBL due diligence files produced by

Stanford Group Holdings, Inc.; (ii) Antiguan banking laws and guidelines; (iii) the FSRC’s pre-

examination package for SIBL; and (iv) information regarding SIBL’s auditor, Hewlett & Co.

Stinson then added that Stanford Financial had requested the FSRC and Hewlett & Co. to provide

additional information directly to the OFI, which “[the OFI] should receive under separate cover.”

Of course, Stanford Financial and STC knew that Stanford Financial had drafted these fake letters,

and that the OFI would not be receiving these letters in the future because they had already been

provided by Stanford Financial.

       143.    On May 29, 2008, the Financial/Audit Committee of STC’s Board of Directors met

to discuss STC’s annual audited financial statements. In attendance were Frazer, Fournet, Jackson

and Bogar. Fournet reported to the committee that STC’s revenues had increased in 2007, including

a 40% increase in revenue from STC’s investments in SIBL CDs. On July 10, 2008, STC’s Board

of Directors met again to hear reports from its committees and discuss the OFI’s continuing

examination of STC. In attendance were Haymon, Fournet, Frazer, Bogar and Jim Weller. Reynaud

and Parrish did not attend. Fournet reported that the OFI had not yet responded to STC regarding a

final report for its 2007 examination, nor had the OFI requested any additional information. At this

point, Haymon expressed his concern for STC’s future business strategy. Bogar indicated that STC’s

overall strategy was an agenda item for discussion but STC’s “clean up” process had taken time.

Bogar added that Weller would be instrumental in developing STC’s nationwide trust strategy.

       144.    Despite Stanford Financial’s best efforts to sway the OFI, including its outright

fabrication of third-party documents, OFI Commissioner John Ducrest stood firm. On July 21,

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2008, the OFI finally issued its examination report (the “2007 Report”), in which the OFI concluded

that STC was violating numerous laws. In particular, the 2007 Report noted that “a great majority

of STC’s growth and income since 2001 is directly related to the proliferation of [SIBL] CDs in

self-directed IRA accounts,” and that “much of STC’s income derived from referral fees from its

affiliate SGC and is directly connected with the SIBL CDs.” The OFI also noted that all the

investment advisors for STC’s IRA accounts were employed by its affiliate SGC. The 2007 Report

emphasized the OFI’s growing “concern[] with the lack of diversification and apparent risk

associated with this growing concentration,” which “without proper due diligence and ongoing

reviews of SIBL is exposing STC to an undue level of risk.”

       145.    In light of these factors, the OFI once again questioned the adequacy of STC’s

capitalization, and the OFI informed STC that it was “no longer willing” to allow STC to continue

investing its clients’ IRA funds in SIBL CDs without an independent valuation of the CDs. The OFI

recommended that STC immediately obtain an independent valuation of the SIBL CDs brokered

through SGC, and to obtain an independent validation of the methodology being used by SGC to

determine whether clients truly qualified as “accredited investors” under Regulation D.

       146.    During this hour of crisis, Stanford Financial turned once again to A&R. On July 29,

2008, SGC’s Lena Stinson informed Alvarado that she had spoken with A&R partner Jim Austin,

who said he had personally known OFI Commissioner John Ducrest since they were five years old,

and according to Defendant Austin, he was “well known” by Sidney Seymour and the OFI generally.

At an August 5, 2008 meeting of STC’s Board of Directors, which was attended by Alvarado and

Stinson, STC’s Directors discussed the OFI’s 2007 Report and a process for handling the requested

CD valuation. Alvarado voiced his objection to the OFI’s perceived attempt to exert jurisdiction

over SIBL, but STC’s Directors interjected that the OFI had jurisdiction because the CDs were being

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held in Louisiana IRA accounts. On the issue of referral fees, Alvarado pointed to STC’s legal

opinions from A&R and stated that STC should just ignore the OFI’s concerns about fees.

       147.    STC’s Board of Directors held a special session meeting on August 5, 2008 to discuss

the OFI’s 2007 Report. In attendance were Haymon, Frazer, Bogar, Parrish, Weller, and Fournet.

Reynaud did not attend. The OFI had given STC’s Board of Directors 45 days to submit a plan of

action to address the OFI’s concerns, including STC’s need to secure a third-party valuation of the

SIBL CDs. Stanford Financial General Counsel Mauricio Alvarado pressed the Board to authorize

STC to engage someone to perform the valuation. After further discussions regarding possible

valuation candidates, “Haymon then questioned whether the [SIBL CDs] had even been valued

and it was confirmed that [they] had not.” (emphasis added). Of course, as the director of a trust

company whose primary source of revenue was driven by its clients’ purchases of SIBL CDs, this is

something that Haymon either knew or should have already known, and he was reckless or at least

grossly negligent in not knowing.

       148.    Frazer then noted that the OFI’s focus was on STC’s documentation supporting the

valuation of the SIBL CD, as opposed to questioning the SIBL CD itself. Haymon agreed with

Frazer. Alvarado stated that SIBL CDs were not domestic securities and that SIBL’s portfolio was

outside the scope of U.S. law. He cautioned against U.S. regulation of foreign entities, and he

believed the OFI’s concern had expanded beyond the scope of SIBL’s portfolio. Frazer expressed

his concern that the OFI may be requesting something that STC could not provide. Bogar agreed

with Frazer, and said STC had already given the OFI everything that it could provide.

       149.    Haymon disagreed with Alvarado, noting his belief that the OFI was not attempting to

regulate SIBL, but that because the SIBL CDs were being held in Louisiana IRA accounts, the OFI

was seeking an analysis of the CDs fair market value to evaluate SIBL’s creditworthiness (something

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the Director Defendants were duty bound to have determined previously but had failed to do). Bogar

interjected that SIBL was strong financially and the OFI should consider SIBL’s “strong track

record.”

       150.    Haymon then expressed his concerns that STC was being asked to stop selling SIBL

CDs until the third-party valuation was complete. Mauricio Alvarado asked the Board to interpret

the OFI’s 2007 Report and determine the appropriate course of action. Haymon responded that the

2007 Report was clear that the OFI wanted STC to stop selling SIBL CDs at this time, and Frazer

suggested ceasing SIBL CD sales as of July 31, 2008.

       151.    Frazer then expressed his concerns regarding the OFI’s request that STC obtain a

Private Letter Ruling from the IRS regarding the referral fees associated with STC’s investments in

SIBL CDs. Mauricio Alvarado responded that STC already had two legal opinions supporting the

propriety of these fees, and that STC should rely on these opinions without a ruling by the IRS.

Finally, Frazer asked if STC’s fees for SIBL CDs were a referral fee or a custodial fee, “and the

latter was confirmed.”

       152.    STC’s Board of Directors met again on August 11, 2008, continuing its discussions

about the OFI’s 2007 Report and approving STC’s retention of Defendant Austin. Following that

meeting, STC and SGC executives supplied Austin with copies of SIBL’s financial statements, the

OFI’s prior examination reports, and A&R’s prior legal opinions. On August 15, 2008, in response

to the OFI’s 2007 Report, STC officially stopped investing its clients’ IRA funds in SIBL CDs.

Louis Fournet resigned as STC’s President shortly thereafter in late August 2008.

               m.        The Lawyer Defendants: Between a Rock and a Hard Place

       153.    On August 27, 2008, Defendant Austin met with the OFI’s Sidney Seymour in an

attempt to help STC get its IRA Plan back on track. During these discussions, Seymour informed

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Austin that the OFI had serious concerns that SIBL was violating its registration exception under

Reg. D. The OFI also had serious concerns about the competency and independence of Antigua’s

banking regulators and SIBL’s auditor. In fact, Seymour informed Austin that the OFI could not get

Antigua’s banking regulators to even speak with them. Seymour also informed Defendant Austin

that the OFI could not get comfortable with Antigua’s regulatory scheme because “Antigua owes $

to Allen Stanford” (underline in Austin’s original notes). The next day, August 28, 2008, STC

advised Austin that it was currently holding $337,270,133 in SIBL CDs in more than 1,200 IRA

accounts.

       154.    This was a pivotal moment in A&R’s relationship with Stanford Financial, as

Defendant Austin had just received information from a state regulator that raised grave concerns

about the propriety of SIBL’s operations, as well as those of STC and SGC. Just as importantly,

however, it was a pivotal moment in A&R’s relationship with the many clients and friends that A&R

had referred to Stanford Financial. A&R was stuck between the proverbial rock and a hard place:

should A&R inform all these clients and friends about the OFI’s disturbing revelations and the many

other red flags that A&R had uncovered in its relationship with Stanford Financial? To do so,

however, would mean breaching its fiduciary duties to Stanford Financial, including STC and SGC.

Reynaud and his law firm, BSW, also shared this same dilemma. As Chairman of STC’s Policy

Committee, which oversaw all of STC’s policies, procedures, and legal affairs, Reynaud knew or

was reckless or at least grossly negligent in not knowing about the OFI’s revelations and the red flags

uncovered by both law firms. Reynaud and BSW had also referred BSW clients to Stanford

Financial to buy SIBL CDs.

       155.    On August 29, 2008, STC’s Board of Directors held another special session meeting

to discuss Fournet’s departure and Jim Weller’s appointment as STC’s new President. In attendance

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were Haymon, Frazer, Reynaud, Parrish, and Weller. Bogar did not attend. Weller reported that

Defendant Austin had met with the OFI to update STC on any additional items requested by the OFI.

Weller also reported that he had met with an accounting firm that he believed could give the OFI

comfort regarding Antigua’s regulatory and audit standards.

       156.    In response to Defendant Austin’s meeting with Sidney Seymour, A&R frantically

researched STC’s files and the Antiguan FSRC to examine the issues raised by the OFI. Instead of

resolving these issues, however, A&R’s investigation raised even more red flags. For example,

A&R reviewed a random selection of STC’s IRA account files and discovered that none of those

files contained the necessary disclosure statements required under STC’s internal procedures.

Additionally, A&R’s legal research showed that the Antiguan FSRC was violating its own directives

by refusing to cooperate with Louisiana’s OFI.

       157.    On September 22, 2008, the Financial/Audit Committee of STC’s Board of Directors

met to discuss STC’s financial results. In attendance were Frazer, Jackson, and Weller. Bogar did

not attend. Weller updated the committee regarding STC’s response to the OFI’s 2007 Report and

stated that a valuation report for the SIBL CDs should be available in October 2008. Weller also

confirmed that STC’s investments in SIBL CDs had ceased on August 15, 2008. At this point,

Frazer questioned how this action would impact STC’s 2008 revenue with no additional revenue

generated by SIBL CDs. He added, “STC could end with a substantial loss for the year.”

               n.      Stanford Financial Moves the IRA Plan to International Bank and Trust

       158.    Frazer was right. When STC was forced by the OFI to stop investing its clients’

money in SIBL CDs, the company’s revenues collapsed because it was no longer earning SIBL

referral fees. To respond to this crisis, Stanford Financial moved its IRA business away from STC to

a third-party trustee, International Bank and Trust (“International Trust”), to which entity Stanford

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Financial intended to transfer STC’s 1,264 IRA accounts that held SIBL CDs. But Stanford

Financial could not complete this transfer before the SEC seized its operations in February 2009.

When the government’s seizure finally occurred, Stanford Financial’s records reveal that STC

purportedly held over $300 million in SIBL CDs.

                o.     A&R’s Final Act of Betrayal

       159.     A&R continued to show its true colors in the final days of the Stanford Ponzi

scheme. On January 13, 2009, Stanford Financial’s General Counsel – North America, Larry

Fontana, wrote to Defendant Schmidt and requested that he communicate with Stanford Financial’s

auditors concerning significant STC matters to which A&R had devoted substantive attention in

2008. Despite the considerable amount of time that A&R spent representing STC in 2008 related to

the OFI’s examination, A&R did not disclose this matter in its audit response letter dated February 6,

2009. Nor did A&R list the numerous claims against STC that A&R had defended in 2008, which

stood in stark contrast to the disclosures in A&R’s audit response letter for the prior year, dated

March 24, 2008. Rather, A&R’s February 6, 2009 letter simply stated that “some or all of [STC’s]

matters . . . have been settled or otherwise resolved.” Ironically, A&R’s false response to STC’s

auditor, BDO Seidman, was issued just days before the Stanford Ponzi scheme collapsed. This final

act of betrayal against Stanford Financial provides further proof of A&R’s complicity in the Stanford

Ponzi scheme.

                p.     The Defendants’ Culpable Knowledge of the Stanford Ponzi Scheme

       160.     Incredibly, the red flags were everywhere and yet the Defendants continued to provide

services that furthered the Stanford Ponzi scheme. While the deceptive machinations of Allen

Stanford and his co-conspirators certainly dictated the course of this fraudulent scheme, the

Defendants’ purportedly “independent” legal and fiduciary services fueled the engine for that

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scheme. Without the Defendants’ complicity and participation, the IRA portion of the Stanford

Ponzi scheme would not have survived, and at a minimum, the approximately $300 million in funds

that STC should have been holding in SIBL CDs when the scheme collapsed would not have been

improperly diverted from STC and subsequently misappropriated from Stanford Financial.

        161.   Through their years of faithful service for Stanford Financial, including STC and

SGC, the Lawyer Defendants 5 acquired extensive knowledge of Stanford Financial’s fraudulent

operations and STC’s illicit business relationship with SIBL and SGC. Despite this knowledge, the

Lawyer Defendants continuously ignored numerous red flags that evinced the hallmarks of a Ponzi

scheme and continued to service Stanford Financial without question. In doing so, they played a

pivotal role in furthering the Stanford Ponzi scheme.

        162.   The Lawyer Defendants’ knowledge and conduct demonstrates their awareness that

Stanford Financial’s directors and officers, including those at STC and SGC, were continuously

breaching their fiduciary duties to the Stanford Financial group of companies. Additionally, the

Lawyer Defendants’ knowledge and conduct demonstrates that each of them was aware of their

participation in these breaches of fiduciary duties. The Lawyer Defendants’ awareness and

participation in these fiduciary breaches assisted Allen Stanford in misappropriating at least $1.8

billion from Stanford Financial, including at least $300 million in funds that STC should have been

holding in SIBL CDs that were improperly diverted and subsequently misappropriated from Stanford

Financial.




5
 The “Lawyer Defendants” have been previously defined as Defendants A&R, BSW, Schmidt, Austin and
Reynaud.
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         163.    The Director Defendants, 6 through their loyal service as directors of STC,

continuously ignored the same red flags and hallmarks of the Ponzi scheme, and despite this

knowledge, they continued to provide services that furthered the scheme. The Director Defendants

owed fiduciary duties to STC to use reasonable care in operating and managing STC and to operate

STC’s business in a reasonably prudent manner. The Director Defendants also owed fiduciary duties

to STC to operate STC in compliance with all applicable laws and regulations. The Director

Defendants breached their fiduciary duties by failing to use reasonable care in operating and

managing STC, failing to operate STC’s business in a reasonably prudent manner, and failing to

operate STC in compliance with all applicable laws and regulations. Specifically, the Director

Defendants breached their fiduciary duties to STC by continuously ignoring the numerous red flags

discussed in this Complaint and continuing to provide services that furthered the Stanford Ponzi

scheme, despite the Director Defendants’ extensive knowledge of the fraudulent operations at STC,

SGC, and Stanford Financial generally, and STC’s illicit business relationship with SIBL and SGC.

The Director Defendants’ fiduciary breaches played a pivotal role in furthering the Stanford Ponzi

scheme and assisted Allen Stanford in misappropriating at least $1.8 billion from Stanford Financial,

including at least $300 million in funds that STC should have been holding in SIBL CDs that were

improperly diverted and subsequently misappropriated from Stanford Financial.

                         VI.   STATUTE OF LIMITATIONS DEFENSES

A.       Discovery Rule / Inquiry Notice / Equitable Tolling

         164.    The SEC filed an action against Allen Stanford and SIBL et al. on February 17, 2009,

and on that same day the Receiver was appointed. Plaintiffs did not discover, and could not with the

exercise of reasonable diligence have discovered until more recently, Defendants’ participation in the


6
    The “Director Defendants” have been previously defined as Defendants Reynaud, Haymon and Frazer.
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Stanford Ponzi scheme and the true nature of the injury suffered by Stanford Financial. Moreover,

the Defendants’ wrongful acts were inherently undiscoverable. Plaintiffs also assert the doctrine of

equitable tolling.

                                   VII. CAUSES OF ACTION

       165.    For each of the following causes of action, Plaintiffs incorporate by reference and

reassert the allegations above as if fully set forth below.

COUNT 1:       Negligence

       166.    The Lawyer Defendants owed a duty to STC, SGC, and Stanford Financial generally,

and therefore to the Receiver and/or the Committee, that required the Lawyer Defendants to exercise

the degree of care, skill, or diligence that an attorney of ordinary skill and knowledge commonly

possesses. The Lawyer Defendants’ negligent acts or omissions breached that duty to STC, SGC,

and Stanford Financial generally, and therefore to the Receiver and/or the Committee. The Lawyer

Defendants’ breach of this duty proximately caused an injury to STC, SGC, and Stanford Financial

generally, and therefore to the Receiver and/or the Committee, by assisting Allen Stanford in

misappropriating at least $1.8 billion in assets from Stanford Financial, including at least $300

million in funds that STC should have been holding in SIBL CDs that were improperly diverted and

subsequently misappropriated from Stanford Financial. As a result of the Lawyer Defendants’

breach, STC, SGC, and Stanford Financial generally, and therefore the Receiver and/or the

Committee, suffered damages.

COUNT 2:       Aiding, Abetting, or Participation in Breaches of Fiduciary Duties

       167.    The directors and officers of Stanford Financial, including but not limited to the

directors and officers of STC and SGC, owed fiduciary duties to their respective member companies

within Stanford Financial, and therefore owed fiduciary duties to the Receiver and/or the Committee.
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These directors and officers breached their fiduciary duties by causing STC, SGC, and Stanford

Financial generally to engage in illegal activity, and by assisting Allen Stanford in misappropriating

at least $1.8 billion in assets from Stanford Financial, including at least $300 million in funds that

STC should have been holding in SIBL CDs that were improperly diverted and subsequently

misappropriated from Stanford Financial. The STC directors who breached their fiduciary duties

include but are not limited to: (i) Defendant Reynaud, who served from 2000 until 2009; (ii)

Defendant Haymon, who served from 2003 until 2008; (iii) Defendant Frazer, who served from 2003

until 2008; (iv) Director J.D. Perry, who served from 1998 until 2006; (v) Director Louis Fournet,

who served from 2007 until 2008; (vi) Director Jay Comeaux, who served from 1998 until 2008;

(vii) Director Zack Parrish, who served from 2006 until 2009; (viii) Director Daniel Bogar, who

served from 2004 until 2009; and (ix) Director Jason Green, who served from 1998 until 2008.

       168.    The Lawyer Defendants knowingly or recklessly aided, abetted, or participated in

these breaches of fiduciary duties. The Lawyer Defendants knew that the directors and officers of

STC, SGC, and Stanford Financial generally owed fiduciary duties to their respective Stanford

companies, and the Lawyer Defendants were aware that these directors and officers were breaching

their fiduciary duties. The Lawyer Defendants also knew that they were aiding, abetting, or

participating in these breaches of fiduciary duties by the conduct alleged herein. The directors’ and

officers’ fiduciary breaches and the Lawyer Defendants’ participation in these breaches were a

proximate cause of actual damages to STC, SGC, and Stanford Financial generally, and therefore to

the Receiver and/or the Committee. The Lawyer Defendants knew or should have known that their

aiding, abetting, or participation in these breaches of fiduciary duties would result in extraordinary

harm to Stanford Financial and therefore the Receiver and/or the Committee. Accordingly, Plaintiffs



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are entitled to recover exemplary damages in excess of the minimum jurisdictional limits of this

Court.

COUNT 3:        Breaches of Fiduciary Duties

         169.   The Director Defendants owed fiduciary duties to STC to use reasonable care in

operating and managing STC and to operate STC’s business in a reasonably prudent manner. The

Director Defendants also owed fiduciary duties to STC to operate STC in compliance with all

applicable laws and regulations. The Director Defendants breached their fiduciary duties by failing

to use reasonable care in operating and managing STC, failing to operate STC’s business in a

reasonably prudent manner, and failing to operate STC in compliance with all applicable laws and

regulations. Specifically, the Director Defendants breached their fiduciary duties to STC by

continuously ignoring the numerous red flags discussed in this Complaint and continuing to provide

services that furthered the Stanford Ponzi scheme, despite the Director Defendants’ extensive

knowledge of the fraudulent operations at STC, SGC, and Stanford Financial generally, and STC’s

illicit business relationship with SIBL and SGC. By ignoring these red flags and continuing to

provide such services, the Director Defendants allowed STC to be dominated, controlled and

exploited by SGC, SIBL, and Stanford Financial generally, such that STC did not further its own

interests but rather served the interests of the Stanford Ponzi scheme to its own detriment. The

Director Defendants’ grossly negligent acts and omissions demonstrate an entire want of care and

actual conscious indifference to the rights, safety, and welfare of STC, SGC, and Stanford Financial

generally. The Director Defendants’ grossly negligent acts and omissions also manifest an actual

awareness by the Director Defendants that their conduct posed an extreme degree of risk and

likelihood of serious injury to STC, SGC, and Stanford Financial generally. The Director

Defendants’ fiduciary breaches played a pivotal role in furthering the Stanford Ponzi scheme and
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assisted Allen Stanford in misappropriating at least $1.8 billion from Stanford Financial, including

at least $300 million in funds that STC should have been holding in SIBL CDs that were improperly

diverted and subsequently misappropriated from Stanford Financial.

COUNT 4:       Aiding, Abetting, or Participation in a Fraudulent Scheme

       170.    By their conduct described herein, Defendants aided, abetted, and/or participated

with the various directors and officers of STC, SGC, and Stanford Financial generally in a

fraudulent scheme against Stanford Financial and its affiliated member companies, and therefore

against the Receiver and/or the Committee. In particular, Defendants’ services assisted a fraudulent

scheme that assisted Allen Stanford in misappropriating at least $1.8 billion from Stanford Financial,

and therefore from the Receiver and/or the Committee, including at least $300 million in funds that

STC should have been holding in SIBL CDs that were improperly diverted and subsequently

misappropriated from Stanford Financial. As a result of this conduct, Defendants are directly liable

for fraud, and Defendants’ actions, in combination with the actions of various directors and officers

of STC, SGC, and Stanford Financial generally, are a proximate cause of actual damages to STC,

SGC, and Stanford Financial generally, and therefore to the Receiver and/or the Committee.

COUNT 5:       Aiding, Abetting, or Participation in Fraudulent Transfers

       171.    Plaintiffs are entitled to disgorgement of the funds transferred from STC, SGC, and

Stanford Financial to third parties because the payments constitute fraudulent transfers under

applicable law. The payments are fraudulent transfers because STC, SGC, and Stanford Financial

made the payments to third parties with actual intent to hinder, delay, or defraud Stanford Financial’s

creditors, and the funds were transferred at a time when Stanford Financial and its affiliated member

companies, including STC and SGC, were insolvent. “[T]ransfers made from a Ponzi scheme are


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presumptively made with intent to defraud, because a Ponzi scheme is, as a matter of law, insolvent

from inception.” Quilling v. Schonsky, No. 07-10093, 2007 WL 2710703, at *2 (5th Cir. Sept. 18,

2007) (citing Warfield v. Byron, 436 F.3d 551, 559 (5th Cir. 2006)). Additionally, STC, SGC, and

Stanford Financial did not receive reasonably equivalent value in exchange for the transfers, and/or

any value received was in furtherance of the Ponzi scheme that Defendants either knew or should

have known about and to which they were recklessly and willfully blind.

       172.    By their conduct described herein, Defendants knowingly or recklessly aided, abetted,

or participated in these fraudulent transfers to third parties. Defendants were aware that STC, SGC,

and Stanford Financial generally were fraudulently transferring assets to third parties, and

Defendants were also aware that they were aiding, abetting, or participating in these fraudulent

transfers. The fraudulent transfers and Defendants’ participation in these fraudulent transfers were a

proximate cause of actual damages to STC, SGC, and Stanford Financial generally, and therefore to

the Receiver and/or the Committee. Therefore, the Receiver and/or the Committee is entitled to

recover from the Defendants the full amount of any fraudulent transfers that third parties received

from STC, SGC, and Stanford Financial generally, either directly or indirectly. The Receiver and/or

the Committee are also entitled to recover attorneys’ fees and costs for their claims against

Defendants. As a result, the Receiver and/or the Committee request reasonable attorneys’ fees and

costs for prosecuting their fraudulent-transfer claims against Defendants.

COUNT 6:       Aiding, Abetting, or Participation in Conversion

       173.    STC, SGC, and Stanford Financial generally, and therefore the Receiver and/or the

Committee, owned, possessed, or had the right to immediate possession of personal property. Allen

Stanford and the respective directors and officers of STC, SGC, and Stanford Financial generally


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wrongfully exercised dominion or control over such property. Their wrongful exercise of such

dominion or control assisted Allen Stanford in misappropriating at least $1.8 billion in personal

property from Stanford Financial, including at least $300 million in funds that STC should have been

holding in SIBL CDs that were improperly diverted and subsequently misappropriated from Stanford

Financial. This misappropriation of funds caused damages to STC, SGC, and Stanford Financial

generally, and therefore caused damages to the Receiver and/or the Committee.

       174.    By their conduct described herein, Defendants knowingly or recklessly aided,

abetted, or participated in this misappropriation and conversion of at least $1.8 billion in property

from Stanford Financial, and therefore from the Receiver and/or the Committee, including at least

$300 million in funds that STC should have been holding in SIBL CDs that were improperly diverted

and subsequently misappropriated from Stanford Financial. Defendants were aware that Allen

Stanford and the respective directors and officers of STC, SGC, and Stanford Financial were

wrongfully exercising dominion or control over the personal property of STC, SGC, and Stanford

Financial generally, including at least $1.8 billion that Allen Stanford misappropriated and converted

from Stanford Financial and at least $300 million in funds that STC should have been holding in

SIBL CDs that were improperly diverted and subsequently misappropriated from Stanford Financial.

Defendants were also aware that they were aiding, abetting, or participating in this wrongful

conversion of personal property. The conversion of funds by Allen Stanford and the respective

directors and officers of STC, SGC, and Stanford Financial generally was a proximate cause of

actual damages to STC, SGC, and Stanford Financial generally, and therefore to the Receiver and/or

the Committee. As a result, STC, SGC, and Stanford Financial generally, and therefore the Receiver

and/or the Committee, have suffered injury.



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COUNT 7:       Civil Conspiracy

       175.    Defendants conspired with Allen Stanford and the directors and officers of STC,

SGC, and Stanford Financial generally to commit the wrongful conduct described herein, including

breaches of fiduciary duties, fraudulent transfers, and conversion. Defendants are responsible for all

wrongdoing done by each of the other members of the conspiracy, including Allen Stanford, Jim

Davis, Mauricio Alvarado, Laura Pendergest-Holt, Rebecca Hamric, Jane Bates, Lena Stinson,

Bernie Young, SIBL’s president Juan Rodriguez Tolentino, Leroy King, and others, in furtherance of

the unlawful conspiracy and enterprise. In particular, Defendants are responsible for Allen

Stanford’s misappropriation of at least $1.8 billion from Stanford Financial, and therefore from the

Receiver and/or the Committee, including at least $300 million in funds that STC should have been

holding in SIBL CDs that were improperly diverted and subsequently misappropriated from Stanford

Financial.

       176.    There was a meeting of the minds between Stanford, Davis, Alvarado, King, and

others regarding the need to conceal the true nature and activities of STC, SGC, and Stanford

Financial generally, and to evade regulatory scrutiny. This meeting of the minds grew to include

other participants, including Pendergest-Holt, and eventually Defendants. Defendants joined the

conspiracy, which began in at least 1998 and continued to February 2009, and had a meeting of the

minds with the directors, officers, and principals of STC, SGC, and Stanford Financial generally, and

Defendants agreed to assist STC, SGC, and Stanford Financial to conceal the fraudulent nature of

STC’s, SGC’s, and Stanford Financial’s activities by evading regulatory scrutiny from Louisiana’s

OFI. This concealment was crucial and central to sustaining and expanding the Stanford Ponzi

scheme. Defendants therefore knowingly combined together with the directors, officers, and

principals of STC, SGC, and Stanford Financial generally, and Defendants assisted STC, SGC, and
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Stanford Financial in frustrating the OFI’s investigatory and regulatory efforts in furtherance of the

Stanford Ponzi scheme.

        177.   As described herein, Defendants took various overt acts designed to assist STC, SGC,

and Stanford Financial generally to accomplish the goal of shielding STC, SGC, and Stanford

Financial from regulatory scrutiny and therefore further the Stanford Ponzi scheme. By taking such

overt action, Defendants acted pursuant to their meeting of the minds with Stanford, Davis, Alvarado

and others in pursuit of the common purpose of the conspiracy: to conceal the fraudulent nature of

STC’s, SGC’s, and Stanford Financial’s activities, shield STC, SGC, and Stanford Financial from

regulatory scrutiny by the Louisiana OFI, and enable Stanford Financial to continue the Ponzi

scheme. Defendants’ conspiracy with these co-conspirators to breach fiduciary duties, fraudulently

transfer assets, and convert the property of STC, SGC, and Stanford Financial is a proximate cause

of actual damages to STC, SGC, and Stanford Financial generally, and therefore to the Receiver

and/or the Committee.

        178.   Defendants’ actions in furthering this conspiracy were taken during the conspiracy’s

operation. Indeed, Defendants’ actions were taken to protect the Stanford Ponzi scheme and to avoid

regulatory intervention so that the Stanford Ponzi scheme could continue and Stanford Financial

could continue paying Defendants’ bills. Therefore, Defendants’ actions were part of a continuing

activity that was illegal in nature and essential to furthering the survival of an ongoing Ponzi scheme

conspiracy. But for the overt acts taken by members of the conspiracy to further the objectives of the

Ponzi conspiracy described herein, Allen Stanford would not have been able to carry out his Ponzi

scheme, and millions of dollars belonging to STC, SGC, and Stanford Financial would not have been

lost.


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COUNT 8:       Negligent Retention / Negligent Supervision

       179.    Defendant BSW is directly liable to the Receiver and/or the Committee for negligent

retention and supervision of its employee, Defendant Reynaud. Similarly, Defendant A&R is

directly liable to the Receiver and/or the Committee for negligent retention and supervision of its

employees, Defendants Schmidt and Austin. Defendants BSW and A&R owed a duty to STC, SGC,

and Stanford Financial generally, and therefore to the Receiver and/or the Committee, to use ordinary

care in the hiring, supervision and retention of their agents and employees and in monitoring the

activities of their employees in representing STC, SGC, and Stanford Financial generally.

Defendants BSW and A&R knew or should have known that their respective employees had been

specifically retained by STC, SGC, and Stanford Financial to help them thwart the Louisiana OFI’s

regulatory efforts. As a result, Defendants BSW and A&R breached the duty they owed to STC,

SGC, and Stanford Financial generally, and therefore to the Receiver and/or the Committee, by not

exercising ordinary care in the hiring, supervision and retention of their respective employees and in

not monitoring their respective employees’ activities with regard to this specific, inherently high-

risk, client matter. BSW’s and A&R’s breaches of such duties and failures to supervise have

proximately caused damages to STC, SGC, and Stanford Financial generally, and therefore to the

Receiver and/or the Committee, because they assisted Allen Stanford in misappropriating at least

$1.8 billion from Stanford Financial, including at least $300 million in funds that STC should have

been holding in SIBL CDs that were improperly diverted and subsequently misappropriated from

Stanford Financial.

                               VIII. RESPONDEAT SUPERIOR

       180.    Defendants BSW and A&R are liable for the tortious acts of their respective

employees, Defendants Reynaud, Schmidt, and Austin. Defendants Reynaud, Schmidt, and Austin
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were acting within the course and scope of their respective employments with BSW and A&R, and

in furtherance of said law firms’ respective businesses, when each engaged in the wrongful conduct

described herein.

                                     IX.    ACTUAL DAMAGES

        181.   The Receiver and/or the Committee have suffered the loss of at least $1.8 billion,

including at least $300 million in funds that STC should have been holding in SIBL CDs that were

improperly diverted and subsequently misappropriated from Stanford Financial. This loss was

proximately caused by the wrongful conduct of Defendants and their conspiracy with Allen Stanford

and others as described herein. Additionally, Defendants are liable for all damages caused to STC,

SGC, and Stanford Financial, generally, and therefore to the Receiver and/or the Committee, during

the time period when Defendants participated in the conspiracy to obstruct the Louisiana OFI’s

regulatory efforts. In addition, the Receiver and/or the Committee are entitled to recover their just

and reasonable attorneys’ fees, subject to Court approval, for it would be inequitable not to award

such fees to them. The Receiver and/or the Committee have retained the undersigned attorneys and

have agreed to pay them a reasonable attorneys’ fee for their work.

                                     X.     PUNITIVE DAMAGES

        182.   The Receiver’s and/or the Committee’s injuries resulted from Defendants’ gross

negligence, malice, or actual fraud, which entitles the Receiver and/or the Committee to exemplary

damages in an amount necessary to punish the Defendants and to deter similar conduct by others in

the future.

                               XI.        CONDITIONS PRECEDENT

        183.   All conditions precedent to filing this Complaint have been met.


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                                     XII. JURY DEMAND

       184.    The Receiver and the Committee demand a trial by jury.

                                            PRAYER

       WHEREFORE, the Receiver and the Committee request that the Defendants be summoned

to answer this Complaint, that the case be tried before a jury, and that upon final judgment the

Receiver and the Committee recover their damages as alleged herein, including their actual damages,

punitive damages, and their costs and expenses of suit, including reasonable attorneys’ fees. The

Receiver and the Committee pray for such other relief to which they may be justly entitled.




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Dated: February 16, 2012          Respectfully submitted,

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